                          Case 4:20-cv-02254-YGR Document 352 Filed 09/21/23 Page 1 of 50



                 1

                 2

                 3

                 4

                 5

                 6

                 7

                 8                                    UNITED STATES DISTRICT COURT
                 9                                NORTHERN DISTRICT OF CALIFORNIA
            10                                               OAKLAND DIVISION
            11       LD, DB, BW, RH, and CJ, on behalf of              Case No.: 4:20-cv-02254-YGR
                     themselves and all others similarly situated,
            12
                                        Plaintiffs,                    ORDER GRANTING IN PART
            13                                                         DEFENDANTS’ RENEWED
                            v.                                         ADMINISTRATIVE MOTION TO SEAL
            14
                     UNITED HEALTHCARE INSURANCE
            15       COMPANY, a Connecticut Corporation,
                     UNITED BEHAVIORAL HEALTH, a
            16       California Corporation, and MULTIPLAN,
                     INC., a New York Corporation,
            17
                                        Defendants.
            18

            19
            20

            21

            22

            23

            24

            25

            26

            27

            28
Gibson, Dunn &
 Crutcher LLP
                       [PROPOSED] ORDER GRANTING DEFENDANTS’ RENEWED AND NARROWED ADMINISTRATIVE
                                                      MOTION TO SEAL
                                                 CASE NO. 4:20-CV-02254-YGR
                          Case 4:20-cv-02254-YGR Document 352 Filed 09/21/23 Page 2 of 50



                 1                                                   ORDER
                 2          The Court, having considered defendants United Healthcare Insurance Company’s and United
                 3   Behavioral Health’s (collectively “United Defendants”) and defendant MultiPlan, Inc. (together,
                 4   “Defendants”) Renewed Administrative Motion to File Under Seal, the Declarations of Rebecca
                 5   Paradise, Jeffrey Schneewind, Lauren Blas, Craig Caesar, Marjorie Wilde, and Sean Crandell; the
                 6   Declarations of Non-Party Plan Sponsors Cisco Systems, Inc., Union Pacific Railroad Company, Delta
                 7   Air Lines, Inc., Oracle Corporation, Raytheon Company, and McMaster-Carr Supply Company; and
                 8   plaintiffs’ non-opposition to the sealing of certain documents as detailed at ECF Nos. 170, 229, 251,
                 9   and 263, hereby ORDERS sealing as laid out in the chart which follows.1
            10              As set forth herein, the Court requires additional information for some requests. This is
            11       particularly important in light of the communication referenced below. The parties shall submit this
            12       information with ten (10) days of this Order.
            13              The parties are advised that the Court is in receipt of a letter from the New York Times (included
            14       as Attachment A) which emphasizes the importance and value of open information in our legal system.
            15       The Court concurs with that proposition and works diligently to ensure transparency while balancing
            16       the needs identified in requests to seal. The Court reminds parties that any requests to seal must be
            17       narrow. Broad requests to seal whole documents with old, no longer used agreements or nonproprietary
            18       information will be denied unless sufficient reasons exist to do otherwise.
            19              Moreover, the public should be aware of the significant resources required to evaluate extensive
            20       sealing requests which frequently are done in a complicated and non-user-friendly manner. The Court
            21       is working to find a more streamlined approach to address the requests.
            22
                         Document or Portion of
                                                        Evidence Offered in Support
            23           Document Sought to Be                                                          Ruling
                                                                 of Sealing
                               Sealed
            24
                     Exhibit 48 to the Declaration of Contains confidential               Tentatively denied as overbroad.
            25       Jeff Schneewind (Dkt. 207-1), Administrative Services                No indication of which if any
                     excerpts from the ASA between Agreement between                      provisions remain competitive in
            26                                        UnitedHealthcare Insurance          2023.

            27
                     1
                       Given the procedural posture, certain requests are granted which may not be if this case is ever
            28       tried.
Gibson, Dunn &                                                        2
 Crutcher LLP
                     ORDER GRANTING IN PART DEFENDANTS’ RENEWED AND NARROWED ADMINISTRATIVE MOTION
                                                          TO SEAL
                                                 CASE NO. 4:20-CV-02254-YGR
                         Case 4:20-cv-02254-YGR Document 352 Filed 09/21/23 Page 3 of 50



                 1      Document or Portion of
                                                  Evidence Offered in Support
                        Document Sought to Be                                                       Ruling
                 2                                            of Sealing
                                Sealed
                 3   UHC and Apple Computer, Inc Company and a plan sponsor,           Some of these documents are
                     and subsequent amendments.  which reflects commercially           unsigned and are drafts. Many
                 4                               sensitive and proprietary             provisions are generic. More
                                                 information. Details
                 5                                                                     specific information is required.
                                                 confidential contractual terms
                                                 and financial terms which are
                 6
                                                 still in effect currently.
                 7                               Schneewind Decl. (Dkt. 215-3)
                                                 ¶¶ 4-5; Renewed Schneewind
                 8                               Decl. ¶¶ 4-5.
                 9   Exhibit 49 to the Declaration of Contains confidential            Tentatively denied as overbroad.
                     Jeff Schneewind (Dkt. 207-1), Administrative Services             No indication of which if any
            10       excerpts from the ASA between Agreement between                   provisions remain competitive in
                     UHC and Cisco Systems, Inc.      UnitedHealthcare Insurance       2023.
            11       and subsequent amendments.       Company and a plan sponsor,      Some of these documents are
                                                      which reflects commercially
            12                                                                         unsigned and are drafts. Many
                                                      sensitive and proprietary        provisions are generic. More
            13                                        information. Details             specific information is required.
                                                      confidential contractual terms
            14                                        and financial terms which are
                                                      still in effect currently.
            15                                        Schneewind Decl. (Dkt. 215-3)
            16                                        ¶¶ 4-5; Renewed Schneewind
                                                      Decl. ¶¶ 4-5. See also Cisco
            17                                        Decl., ¶¶ 8-18.

            18
                     Exhibit 50 to the Declaration of Contains confidential            Tentatively denied as overbroad.
            19       Jeff Schneewind (Dkt. 207-1), Administrative Services             No indication of which if any
                     excerpts from the ASA between Agreement between                   provisions remain competitive in
            20
                     UHC and Delta Air Lines, Inc. UnitedHealthcare Insurance          2023.
            21       and subsequent amendments.       Company and a plan sponsor,      Some of these documents are
                                                      which reflects commercially      unsigned and are drafts. Many
            22                                        sensitive and proprietary        provisions are generic. More
                                                      information. Details
            23                                                                         specific information is required.
                                                      confidential contractual terms
            24                                        and financial terms which are
                                                      still in effect currently.
            25                                        Schneewind Decl. (Dkt. 215-3)
                                                      ¶¶ 4-5 and Renewed
            26                                        Schneewind Decl. ¶¶ 4-5. See
                                                      also Delta Decl. ¶¶ 6-10.
            27

            28
Gibson, Dunn &                                                     3
 Crutcher LLP
                     ORDER GRANTING IN PART DEFENDANTS’ RENEWED AND NARROWED ADMINISTRATIVE MOTION
                                                          TO SEAL
                                                 CASE NO. 4:20-CV-02254-YGR
                         Case 4:20-cv-02254-YGR Document 352 Filed 09/21/23 Page 4 of 50



                 1      Document or Portion of
                                                      Evidence Offered in Support
                        Document Sought to Be                                                       Ruling
                 2                                             of Sealing
                              Sealed
                 3

                 4   Exhibit 51 to the Declaration of Contains confidential            Tentatively denied as overbroad.
                     Jeff Schneewind (Dkt. 207-1), Administrative Services             No indication of which if any
                 5   excerpts from the ASA between Agreement between                   provisions remain competitive in
                     UHC and General Dynamics         UnitedHealthcare Insurance       2023.
                 6   Corporation and subsequent       Company and a plan sponsor,      Some of these documents are
                 7   amendments.                      which reflects commercially      unsigned and are drafts. Many
                                                      sensitive and proprietary        provisions are generic. More
                 8                                    information. Details             specific information is required.
                                                      confidential contractual terms
                 9                                    and financial terms which are
                                                      still in effect currently.
            10
                                                      Schneewind Decl. (Dkt. 215-3)
            11                                        ¶¶ 4-5; Renewed Schneewind
                                                      Decl. ¶¶ 4-5.
            12

            13

            14       Exhibit 52 to the Declaration of Contains confidential          Granted as to version on Dkt.
                     Jeff Schneewind (Dkt. 207-1), Administrative Services           No. 338.
            15       excerpts from the ASA between Agreement between
                     UHC and JP Morgan Chase          UnitedHealthcare Insurance
            16       Bank, N.A., and subsequent       Company and a plan sponsor,
            17       amendments.                      which reflects commercially
                                                      sensitive and proprietary
            18                                        information. Details
                                                      confidential contractual terms
            19                                        and financial terms which are
                                                      still in effect currently.
            20                                        Schneewind Decl. (Dkt. 215-3)
            21                                        ¶¶ 4-5; Renewed Schneewind
                                                      Decl. ¶¶ 4-5.
            22

            23

            24       Exhibit 53 to the Declaration of Contains confidential            Tentatively denied as overbroad.
                     Jeff Schneewind (Dkt. 207-1), Administrative Services             No indication of which if any
            25       excerpts from the ASA between Agreement between                   provisions remain competitive in
                     UHC and McMaster-Carr            UnitedHealthcare Insurance       2023.
            26       Supply Company and               Company and a plan sponsor,      Some of these documents are
                     subsequent amendments.           which reflects commercially
            27                                                                         unsigned and are drafts. Many
                                                      sensitive and proprietary        provisions are generic. More
            28                                        information. Details             specific information is required.
Gibson, Dunn &                                                     4
 Crutcher LLP
                     ORDER GRANTING IN PART DEFENDANTS’ RENEWED AND NARROWED ADMINISTRATIVE MOTION
                                                          TO SEAL
                                                 CASE NO. 4:20-CV-02254-YGR
                         Case 4:20-cv-02254-YGR Document 352 Filed 09/21/23 Page 5 of 50



                 1      Document or Portion of
                                                      Evidence Offered in Support
                        Document Sought to Be                                                       Ruling
                 2                                             of Sealing
                              Sealed
                 3                                   confidential contractual terms
                                                     and financial terms which are
                 4                                   still in effect currently.
                                                     Schneewind Decl. (Dkt. 215-3)
                 5                                   ¶¶ 4-5; Renewed Schneewind
                                                     Decl. ¶¶ 4-5. See also
                 6
                                                     McMaster-Carr Decl. ¶¶ 6-10.
                 7

                 8

                 9   Exhibit 54 to the Declaration of Contains confidential          Granted as to version on Dkt.
                     Jeff Schneewind (Dkt. 207-1), Administrative Services           No. 338.
            10       excerpts from the ASA between Agreement between
                     UHC and Nestle USA, Inc. and UnitedHealthcare Insurance
            11       subsequent amendments.           Company and a plan sponsor,
                                                      which reflects commercially
            12                                        sensitive and proprietary
            13                                        information. Details
                                                      confidential contractual terms
            14                                        and financial terms which are
                                                      still in effect currently.
            15                                        Schneewind Decl. (Dkt. 215-3)
                                                      ¶¶ 4-5; Renewed Schneewind
            16
                                                      Decl. ¶¶ 4-5.
            17

            18       Exhibit 55 to the Declaration of Contains confidential            Tentatively denied as overbroad.
                     Jeff Schneewind (Dkt. 207-1), Administrative Services             No indication of which if any
            19       excerpts from the ASA between Agreement between                   provisions remain competitive in
                     UHC and Oracle Corporation       UnitedHealthcare Insurance       2023.
            20       and subsequent amendments.       Company and a plan sponsor,      Some of these documents are
            21                                        which reflects commercially      unsigned and are drafts. Many
                                                      sensitive and proprietary        provisions are generic. More
            22                                        information. Details             specific information is required.
                                                      confidential contractual terms
            23                                        and financial terms which are
                                                      still in effect currently.
            24
                                                      Schneewind Decl. (Dkt. 215-3)
            25                                        ¶¶ 4-5; Renewed Schneewind
                                                      Decl. ¶¶ 4-5. See also Oracle
            26                                        Decl. ¶¶ 6-10.

            27

            28
Gibson, Dunn &                                                     5
 Crutcher LLP
                     ORDER GRANTING IN PART DEFENDANTS’ RENEWED AND NARROWED ADMINISTRATIVE MOTION
                                                          TO SEAL
                                                 CASE NO. 4:20-CV-02254-YGR
                         Case 4:20-cv-02254-YGR Document 352 Filed 09/21/23 Page 6 of 50



                 1      Document or Portion of
                                                        Evidence Offered in Support
                        Document Sought to Be                                                       Ruling
                 2                                               of Sealing
                              Sealed
                 3   Exhibit 56 to the Declaration of Contains confidential          Granted as to version on Dkt.
                     Jeff Schneewind (Dkt. 207-1), Administrative Services           No. 338.
                 4   excerpts from the ASA between Agreement between
                 5   UHC and Raytheon Company UnitedHealthcare Insurance
                     and subsequent amendments.       Company and a plan sponsor,
                 6                                    which reflects commercially
                                                      sensitive and proprietary
                 7                                    information. Details
                                                      confidential contractual terms
                 8
                                                      and financial terms which are
                 9                                    still in effect currently.
                                                      Schneewind Decl. (Dkt. 215-3)
            10                                        ¶¶ 4-5; Renewed Schneewind
                                                      Decl. ¶¶ 4-5. See also
            11                                        Raytheon Decl. ¶¶ 4-8.
            12

            13       Exhibit 57 to the Declaration of Contains confidential            Tentatively denied as overbroad.
                     Jeff Schneewind (Dkt. 207-1), Administrative Services             No indication of which if any
            14       excerpts from the ASA between Agreement between                   provisions remain competitive in
                     UHC and Tesla, Inc. and          UnitedHealthcare Insurance       2023.
            15       subsequent amendments.           Company and a plan sponsor,      Some of these documents are
                                                      which reflects commercially
            16                                                                         unsigned and are drafts. Many
                                                      sensitive and proprietary        provisions are generic. More
            17                                        information. Details             specific information is required.
                                                      confidential contractual terms
            18                                        and financial terms which are
                                                      still in effect currently.
            19                                        Schneewind Decl. (Dkt. 215-3)
                                                      ¶¶ 4-5; Renewed Schneewind
            20
                                                      Decl. ¶¶ 4-5.
            21
                                                        Contains commercially
            22       Exhibit 70 to the Declaration of                                   Granted.
                                                        sensitive information regarding
                     Rebecca Paradise (Dkt. 208-1),
            23                                          United’s internal discussions
                     communications to UHC plan
                                                        about out-of-network programs
                     sponsor account teams.
            24                                          (Category 2, Second Paradise
                                                        Decl. (Dkt. 215-4) ¶ 5).
            25                                          Contains specific savings
                                                        projections and changes to fees
            26
                                                        charged to customers, which
            27                                          became effective January 1,
                                                        2021 and is still operative
            28
Gibson, Dunn &                                                       6
 Crutcher LLP
                     ORDER GRANTING IN PART DEFENDANTS’ RENEWED AND NARROWED ADMINISTRATIVE MOTION
                                                          TO SEAL
                                                 CASE NO. 4:20-CV-02254-YGR
                         Case 4:20-cv-02254-YGR Document 352 Filed 09/21/23 Page 7 of 50



                 1      Document or Portion of
                                                       Evidence Offered in Support
                        Document Sought to Be                                                       Ruling
                 2                                              of Sealing
                              Sealed
                 3                                    today. See Renewed Paradise
                                                      Decl. ¶ 4.
                 4
                     Exhibit 71 to the Declaration of Contains commercially              Denied.
                 5   Rebecca Paradise (Dkt. 208-1), sensitive information regarding
                                                      United’s internal discussions
                     communications to UHC plan
                                                      about out-of-network
                 6   sponsor account teams.
                                                      programs, including detailing
                 7                                    recommendations to clients
                                                      about updated out-of-network
                 8                                    reimbursement plans, which
                                                      became effective January 1,
                 9                                    2021 and is still operative
            10                                        today. See Renewed Paradise
                                                      Decl. ¶ 4; see also Category 2,
            11                                        Second Paradise Decl. (Dkt.
                                                      215-4) ¶ 5.
            12
                     Exhibit 72 to the Declaration of Contains protected health          Granted.
            13       Rebecca Paradise (Dkt. 208-1), information (PII/PHI, Renewed
                                                      Blas Decl. ¶ 4; see also Second
                     example of a PAD letter.
            14                                        Blas Decl. (Dkt. 227) ¶ 5). See
                                                      also Modiano Dec. (Dkt. 229).
            15       Exhibit 73 to the Declaration of Contains proprietary               Granted.
            16       Rebecca Paradise (Dkt. 208-1), information regarding UHC’s
                                                      out of-network programs’
                     excerpt from UHC’s
                                                      operations, performance, and
            17       Performance Summary for
                                                      procedures, detailing specific
                     Facility R&C for 2020.
            18                                        savings figures and Facility
                                                      R&C negotiation success rates
            19                                        during the fourth quarter of
                                                      2020. See Renewed Paradise
            20                                        Decl. ¶ 4; see also (Category 2,
                                                      Second Paradise Decl. (Dkt.
            21
                                                      215-4) ¶ 5)).
            22       Exhibit 110 to the Declaration Contains commercially                Granted.
                     of Geoffrey Sigler (Dkt. 209-2), sensitive information regarding
            23                                        United’s internal
                     documents introduced as
                                                      communications, business
            24       Exhibits 9, 19, and 22 to the
                     deposition of Radames Lopez. strategy, client relationships
            25                                        and proprietary processes,
                                                      including proposed changes to
            26                                        an internal repository of
                                                      information maintained by
            27                                        UHC, and specifically
                                                      referencing particular out-of-
            28
Gibson, Dunn &                                                      7
 Crutcher LLP
                     ORDER GRANTING IN PART DEFENDANTS’ RENEWED AND NARROWED ADMINISTRATIVE MOTION
                                                          TO SEAL
                                                 CASE NO. 4:20-CV-02254-YGR
                         Case 4:20-cv-02254-YGR Document 352 Filed 09/21/23 Page 8 of 50



                 1      Document or Portion of
                                                      Evidence Offered in Support
                        Document Sought to Be                                                    Ruling
                 2                                             of Sealing
                              Sealed
                 3                                   network programs and strategy
                                                     regarding influencing
                 4                                   customers’ choices between
                                                     these plans. See Renewed
                 5                                   Paradise Decl. ¶ 4; see also
                                                     (Category 2, Second Paradise
                 6
                                                     Decl. (Dkt. 215-4) ¶ 5).
                 7
                     Exhibit 112 to the Declaration Contains commercially             Granted.
                 8
                     of Geoffrey Sigler (Dkt. 209-2), sensitive information regarding
                 9   document introduced as Exhibit United’s internal discussions
                                                      about out-of-network
                     8 to the deposition of Sarah
            10                                        programs, including sensitive
                     Peterson.
                                                      communications with a plan
            11                                        sponsor about their
                     Narrowed version refiled         considerations and United’s
            12       concurrently herewith.           pricing methodology (Renewed
                                                      Paradise Decl. ¶ 4; see also
            13                                        Category 2, Second Paradise
            14                                        Decl. (Dkt. 215-4) ¶ 5).

            15       Exhibit 128 to the Declaration Contains information about fee Granted.
            16       of Geoffrey Sigler (Dkt. 209-3), arrangements with UHC
                                                       customers (Category 1, Second
                     email thread produced by
                                                       Paradise Decl. (Dkt. 215-4)
            17       UnitedHealthcare Insurance
                                                       ¶ 4) and commercially sensitive
                     Company in this action as
            18                                         information regarding United’s
                     UHC000070704–10.
                                                       business strategy, client
            19                                         relationships and proprietary
                                                       processes, including sensitive
            20                                         communications with a plan
                                                       sponsor about their
            21
                                                       considerations and United’s
            22                                         pricing methodology (Renewed
                                                       Paradise Decl. ¶ 4; see also
            23                                         Category 2, Second Paradise
                                                       Decl. (Dkt. 215-4) ¶ 5).
            24
                     Exhibit 129 to the Declaration Contains sensitive information Granted.
            25       of Geoffrey Sigler (Dkt. 209-3), regarding medical treatments
                     transcript by the court reporting sought or obtained (PHI/PII,
            26                                         Renewed Blas Decl. ¶ 4;
                     service, Veritext, of a call
                                                       Second Blas Decl. (Dkt. 227)
                     recording separately produced
            27                                         ¶ 5).
                     by United Defendants as an
            28       audio file bates numbered
Gibson, Dunn &                                                    8
 Crutcher LLP
                     ORDER GRANTING IN PART DEFENDANTS’ RENEWED AND NARROWED ADMINISTRATIVE MOTION
                                                          TO SEAL
                                                 CASE NO. 4:20-CV-02254-YGR
                         Case 4:20-cv-02254-YGR Document 352 Filed 09/21/23 Page 9 of 50



                 1       Document or Portion of
                                                     Evidence Offered in Support
                         Document Sought to Be                                                   Ruling
                 2                                            of Sealing
                                 Sealed
                 3   UBH3449 and submitted as an
                     attachment to the Declaration
                 4   of Ngoc Han Nguyen.

                 5   Exhibit 130 to the Declaration Contains sensitive information    Granted.
                     of Geoffrey Sigler (Dkt. 209-3), regarding medical treatments
                 6   transcript by the court reporting sought or obtained (PHI/PII,
                                                       Renewed Blas Decl. ¶ 4;
                     service, Veritext, of a call
                 7   recording separately produced Second Blas Decl. (Dkt. 227)
                                                       ¶ 5).
                     by United Defendants as an
                 8
                     audio file bates numbered
                 9   UBH3459 and submitted as an
                     attachment to the Declaration
            10       of Ngoc Han Nguyen.
            11       Exhibit 131 to the Declaration Contains sensitive information    Granted.
                     of Geoffrey Sigler (Dkt. 209-4), regarding medical treatments
            12       transcript by the court reporting sought or obtained (PHI/PII,
                                                       Renewed Blas Decl. ¶ 4l
                     service, Veritext, of a call
            13       recording separately produced Second Blas Decl. (Dkt. 227)
                                                       ¶ 5).
                     by United Defendants as an
            14
                     audio file bates numbered
            15       UBH3352 and submitted as an
                     attachment to the Declaration
            16       of Ngoc Han Nguyen.
            17       Exhibit 132 to the Declaration Contains sensitive information    Granted.
                     of Geoffrey Sigler (Dkt. 209-4), regarding medical treatments
            18       transcript by the court reporting sought or obtained (PHI/PII,
                                                       Renewed Blas Decl. ¶ 4l
                     service, Veritext, of a call
            19       recording separately produced Second Blas Decl. (Dkt. 227)
                                                       ¶ 5).
                     by United Defendants as an
            20
                     audio file bates numbered
            21       UBH3461 and submitted as an
                     attachment to the Declaration
            22       of Ngoc Han Nguyen.
            23       Exhibit 133 to the Declaration Contains sensitive information    Granted.
                     of Geoffrey Sigler (Dkt. 209-4), regarding medical treatments
            24       transcript by the court reporting sought or obtained (PHI/PII,
                                                       Renewed Blas Decl. ¶ 4;
                     service, Veritext, of a call
            25       recording separately produced Second Blas Decl. (Dkt. 227)
                                                       ¶ 5).
            26       by United Defendants as an
                     audio file bates numbered
            27       UBH3462 and submitted as an
                     attachment to the Declaration
            28       of Ngoc Han Nguyen.
Gibson, Dunn &                                                    9
 Crutcher LLP
                     ORDER GRANTING IN PART DEFENDANTS’ RENEWED AND NARROWED ADMINISTRATIVE MOTION
                                                          TO SEAL
                                                 CASE NO. 4:20-CV-02254-YGR
                        Case 4:20-cv-02254-YGR Document 352 Filed 09/21/23 Page 10 of 50



                 1      Document or Portion of
                                                       Evidence Offered in Support
                        Document Sought to Be                                                      Ruling
                 2                                              of Sealing
                              Sealed
                 3   Exhibit 134 to the Declaration Contains sensitive information      Granted.
                     of Geoffrey Sigler (Dkt. 209-4), regarding medical treatments
                 4   transcript by the court reporting sought or obtained (PHI/PII,
                                                       Renewed Blas Decl. ¶ 4l
                 5   service, Veritext, of a call
                     recording separately produced Second Blas Decl. (Dkt. 227)
                                                       ¶ 5).
                 6   by United Defendants as an
                     audio file bates numbered
                 7   UBH3463 and submitted as an
                     attachment to the Declaration
                 8
                     of Ngoc Han Nguyen.
                 9   Exhibit 135 to the Declaration Contains sensitive information      Granted.
                     of Geoffrey Sigler (Dkt. 209-4), regarding medical treatments
            10
                     transcript by the court reporting sought or obtained (PHI/PII,
                                                       Renewed Blas Decl. ¶ 4;
            11       service, Veritext, of a call
                     recording separately produced Second Blas Decl. (Dkt. 227)
                                                       ¶ 5).
            12       by United Defendants as an
                     audio file bates numbered
            13       UBH3465 and submitted as an
                     attachment to the Declaration
            14
                     of Ngoc Han Nguyen.
            15                                         Contains sensitive information
                     Exhibit 136 to the Declaration                                     Granted.
                     of Geoffrey Sigler (Dkt. 209-4), regarding medical treatments
            16
                     transcript by the court reporting sought or obtained (PHI/PII,
                                                       Renewed Blas Decl. ¶ 4;
            17       service, Veritext, of a call
                     recording separately produced Second Blas Decl. (Dkt. 227)
            18                                         ¶ 5).
                     by United Defendants as an
                     audio file bates numbered
            19       UBH3430 and submitted as an
                     attachment to the Declaration
            20
                     of Ngoc Han Nguyen.
            21       Exhibit 137 to the Declaration Contains sensitive information      Granted.
                     of Geoffrey Sigler (Dkt. 209-4), regarding medical treatments
            22
                     transcript by the court reporting sought or obtained (PHI/PII,
                                                       Renewed Blas Decl. ¶ 4;
            23       service, Veritext, of a call
                     recording separately produced Second Blas Decl. (Dkt. 227)
            24                                         ¶ 5).
                     by United Defendants as an
                     audio file bates numbered
            25       UBH3431 and submitted as an
                     attachment to the Declaration
            26
                     of Ngoc Han Nguyen.
            27       Exhibit 139 to the Declaration Contains sensitive information      Granted.
                     of Geoffrey Sigler (Dkt. 209-4), regarding medical treatments
            28                                        sought or obtained (PHI/PII,
Gibson, Dunn &                                                     10
 Crutcher LLP
                     ORDER GRANTING IN PART DEFENDANTS’ RENEWED AND NARROWED ADMINISTRATIVE MOTION
                                                          TO SEAL
                                                 CASE NO. 4:20-CV-02254-YGR
                        Case 4:20-cv-02254-YGR Document 352 Filed 09/21/23 Page 11 of 50



                 1       Document or Portion of
                                                       Evidence Offered in Support
                         Document Sought to Be                                                     Ruling
                 2                                              of Sealing
                                  Sealed
                 3   document introduced as Exhibit    Renewed Blas Decl. ¶ 4; ;
                     3 to the deposition of named      Second Blas Decl. (Dkt. 227)
                 4   plaintiff BW and bates            ¶ 5). See also Modiano Decl.
                     numbered PLD0000711-13.           (Dkt. 229) ¶ 5.
                 5
                     Exhibit 140 to the Declaration Contains sensitive information      Granted.
                 6   of Geoffrey Sigler (Dkt. 209-4), regarding medical treatments
                     letter introduced as Exhibit 9 to sought or obtained (PHI/PII,
                 7                                     Renewed Blas Decl. ¶ 4;
                     the deposition of named
                                                       Second Blas Decl. (Dkt. 227)
                     plaintiff BW and bates
                 8                                     ¶ 5). See also Modiano Decl.
                     numbered PLD0000001.
                                                       (Dkt. 229) ¶ 5.
                 9
                     Exhibit 143 to the Declaration Contains sensitive information      Granted.
            10       of Geoffrey Sigler (Dkt. 209-5), regarding medical treatments
                                                       sought or obtained (PHI/PII,
                     invoice introduced as Exhibit
            11                                         Renewed Blas Decl. ¶ 4;
                     12 to the deposition of named
                                                       Second Blas Decl. (Dkt. 227)
            12       plaintiff BW and bates
                                                       ¶ 5). See also Modiano Decl.
                     numbered
            13       PLTFIRSTPROD0000394-95. (Dkt. 229) ¶ 5.
                                                       Contains sensitive information
                     Exhibit 146 to the Declaration                                     Granted.
            14                                         regarding medical treatments
                     of Geoffrey Sigler (Dkt. 209-5)
                                                       sought or obtained (PHI/PII,
            15       at 38:16-25, 42:6-22, 153:8,
                                                       Renewed Blas Decl. ¶ 4;
                     certified transcript of the
            16                                         Second Blas Decl. (Dkt. 227)
                     deposition of named plaintiff
                                                       ¶ 5).
                     RH taken in this matter on June
            17       8, 2022.
            18

            19       Narrowed version refiled
                     concurrently herewith.
            20
                     Exhibit 150 to the Declaration Contains sensitive information      Granted.
            21       of Geoffrey Sigler (Dkt. 209-5), regarding medical treatments
                     letter introduced as Exhibit 10 sought or obtained (PHI/PII,
                                                      Renewed Blas Decl. ¶ 4;
            22       to the deposition of named
                                                      Second Blas Decl. (Dkt. 227)
                     plaintiff RH and bates
            23                                        ¶ 5). See also Modiano Decl.
                     numbered
                     PLTFIRSTPROD0000984–85. (Dkt. 229) ¶ 5.
            24
                     Exhibit 151 to the Declaration Contains sensitive information      Granted.
            25       of Geoffrey Sigler (Dkt. 209-6), regarding medical treatments
                     letter introduced as Exhibit 11 sought or obtained (PHI/PII,
            26                                        Renewed Blas Decl. ¶ 4;
                     to the deposition of named
                                                      Second Blas Decl. (Dkt. 227)
            27       plaintiff RH and bates
                                                      ¶ 5.) See also Modiano Decl.
                     numbered
            28       PLTFIRSTPROD0000920–21. (Dkt. 229) ¶ 5.
Gibson, Dunn &                                                      11
 Crutcher LLP
                     ORDER GRANTING IN PART DEFENDANTS’ RENEWED AND NARROWED ADMINISTRATIVE MOTION
                                                          TO SEAL
                                                 CASE NO. 4:20-CV-02254-YGR
                        Case 4:20-cv-02254-YGR Document 352 Filed 09/21/23 Page 12 of 50



                 1      Document or Portion of
                                                     Evidence Offered in Support
                        Document Sought to Be                                                    Ruling
                 2                                            of Sealing
                              Sealed
                 3   Exhibit 152 to the Declaration Contains sensitive information    Granted.
                     of Geoffrey Sigler (Dkt. 209-6), regarding medical treatments
                 4   document introduced as Exhibit sought or obtained (PHI/PII,
                                                      Renewed Blas Decl. ¶ 4;
                 5   12 to the deposition of named
                                                      Second Blas Decl. (Dkt. 227)
                     plaintiff RH and bates
                                                      ¶ 5). See also Modiano Decl.
                 6   numbered
                     PLTFIRSTPROD0001014-15; (Dkt. 229) ¶ 5.
                 7   PLTFIRSTPROD0000978–79.
                 8   Exhibit 153 to the Declaration Contains sensitive information    Granted.
                     of Geoffrey Sigler (Dkt. 209-6), regarding medical treatments
                 9                                    sought or obtained (PHI/PII,
                     invoice introduced as Exhibit
                     13 to the deposition of named    Renewed Blas Decl. ¶ 4;
            10                                        Second Blas Decl. (Dkt. 227)
                     plaintiff RH and bates
                                                      ¶ 5). See also Modiano Decl.
            11       numbered
                                                      (Dkt. 229) ¶ 5.
                     PLTFIRSTPROD0000919.
            12
                     Exhibit 155 to the Declaration Contains sensitive information    Granted.
            13       of Geoffrey Sigler (Dkt. 209-6) regarding medical treatments
                                                      sought or obtained (PHI/PII,
                     23:17-24:7, 27:1-28:25,
            14       125:24-25, 134: 9-24, certified Renewed Blas Decl. ¶ 4;
                                                      Second Blas Decl. (Dkt. 227)
                     transcript of the deposition of
            15                                        ¶ 5).
                     named plaintiff LD taken in this
                     matter on June 14, 2022.
            16

            17
                     Narrowed version refiled
            18       concurrently herewith.

            19       Exhibit 156 to the Declaration Contains sensitive information    Granted.
                     of Geoffrey Sigler (Dkt. 209-6), regarding medical treatments
            20       letter introduced as Exhibit 7 to sought or obtained (PHI/PII,
                                                       Renewed Blas Decl. ¶ 4;
                     the deposition of named
            21                                         Second Blas Decl. (Dkt. 227)
                     plaintiff LD and bates
                                                       ¶ 5). See also Modiano Decl.
                     numbered PLD0001492–93.
            22                                         (Dkt. 229) ¶ 5.

            23       Exhibit 157 to the Declaration Contains sensitive information    Granted.
                     of Geoffrey Sigler (Dkt. 209-6), regarding medical treatments
            24       invoice introduced as Exhibit 9 sought or obtained (PHI/PII,
                                                       Renewed Blas Decl. ¶ 4;
                     to the deposition of named
            25                                         Second Blas Decl. (Dkt. 227)
                     plaintiff LD and bates
                                                       ¶ 5). See also Modiano Decl.
                     numbered
            26                                         (Dkt. 229) ¶ 5.
                     PLTFIRSTPROD0000901.
            27       Exhibit 158 to the Declaration Contains sensitive information    Granted.
                     of Geoffrey Sigler (Dkt. 209-6), regarding medical treatments
            28                                        sought or obtained (PHI/PII,
Gibson, Dunn &                                                     12
 Crutcher LLP
                     ORDER GRANTING IN PART DEFENDANTS’ RENEWED AND NARROWED ADMINISTRATIVE MOTION
                                                          TO SEAL
                                                 CASE NO. 4:20-CV-02254-YGR
                        Case 4:20-cv-02254-YGR Document 352 Filed 09/21/23 Page 13 of 50



                 1       Document or Portion of
                                                        Evidence Offered in Support
                         Document Sought to Be                                                      Ruling
                 2                                               of Sealing
                                  Sealed
                 3   receipt introduced as Exhibit 10   Renewed Blas Decl. ¶ 4;
                     to the deposition of named         Second Blas Decl. (Dkt. 227)
                 4   plaintiff LD and bates             ¶ 5). See also Modiano Decl.
                     numbered                           (Dkt. 229) ¶ 5.
                 5   PLTFIRSTPROD0000484–85.
                 6   Exhibit 159 to the Declaration Contains sensitive information       Granted.
                     of Geoffrey Sigler (Dkt. 209-6), regarding medical treatments
                 7   letter introduced as Exhibit 13 sought or obtained (PHI/PII,
                                                      Renewed Blas Decl. ¶ 4;
                     to the deposition of named
                 8                                    Second Blas Decl. (Dkt. 227)
                     plaintiff LD and bates
                                                      ¶ 5). See also Modiano Decl.
                 9   numbered PLD0001531–41.
                                                      (Dkt. 229) ¶ 5.
            10       Exhibit 162 to the Declaration Contains sensitive information       Granted.
                     of Geoffrey Sigler (Dkt. 209-7) regarding medical treatments
            11                                        sought or obtained (PHI/PII,
                     at 110:10-16, 22-25, certified
                                                      Renewed Blas Decl. ¶ 4;
            12       transcript of Volume I of the
                                                      Second Blas Decl. (Dkt. 227)
                     deposition of named plaintiff
            13       DB taken in this matter on June ¶ 5).
                     7, 2022.
            14

            15       Narrowed version refiled
                     concurrently herewith.
            16
                                                        Contains sensitive information
                     Exhibit 163 to the Declaration                                      Granted.
            17                                          regarding medical treatments
                     of Geoffrey Sigler (Dkt. 209-7)
                                                        sought or obtained (PHI/PII,
                     at 136:1-137:11, 150:24-151:8,
            18                                          Renewed Blas Decl. ¶ 4;
                     151:16-25, 168:17-25; 213:1-4,
                                                        Second Blas Decl. (Dkt. 227)
            19       21-25, certified transcript of
                                                        ¶ 5).
                     Volume II of the deposition of
            20       named plaintiff DB taken in
                     this matter on June 28, 2022.
            21

            22       Narrowed version refiled
            23       concurrently herewith.
                     Exhibit 169 to the Declaration Contains sensitive information       Granted.
            24       of Geoffrey Sigler (Dkt. 209-7), regarding medical treatments
            25       letter introduced as Exhibit 11 sought or obtained (PHI/PII,
                                                      Renewed Blas Decl. ¶ 4;
                     to the deposition of named
                                                      Second Blas Decl. (Dkt. 227)
            26       plaintiff DB and bates
                                                      ¶ 5). See also Modiano Decl.
                     numbered
            27                                        (Dkt. 229) ¶ 5).
                     PLTFIRSTPROD0000001–
                     178.
            28
Gibson, Dunn &                                                       13
 Crutcher LLP
                     ORDER GRANTING IN PART DEFENDANTS’ RENEWED AND NARROWED ADMINISTRATIVE MOTION
                                                          TO SEAL
                                                 CASE NO. 4:20-CV-02254-YGR
                        Case 4:20-cv-02254-YGR Document 352 Filed 09/21/23 Page 14 of 50



                 1      Document or Portion of
                                                         Evidence Offered in Support
                        Document Sought to Be                                                        Ruling
                 2                                                of Sealing
                              Sealed
                 3                                       Contains sensitive information
                     Exhibit 172 to the Declaration                                       Granted.
                                                         regarding medical treatments
                     of Geoffrey Sigler (Dkt. 209-8)
                 4                                       sought or obtained (PHI/PII,
                     at 25:6-11, 25:16-23, 26:2-5,
                                                         Renewed Blas Decl. ¶ 4;
                 5   26:20-23, certified transcript of
                                                         Second Blas Decl. (Dkt. 227)
                     the deposition of named
                                                         ¶ 5).
                 6   plaintiff CJ taken in this matter
                     on June 15, 2022.
                 7

                 8   Narrowed version refiled
                 9   concurrently herewith.
                     Exhibit 173 to the Declaration Contains sensitive information        Granted.
            10       of Geoffrey Sigler (Dkt. 209-8), regarding medical treatments
            11       document introduced as Exhibit sought or obtained (PHI/PII,
                                                       Renewed Blas Decl. ¶ 4;
                     2 to the deposition of named
                                                       Second Blas Decl. (Dkt. 227)
            12       plaintiff CJ and bates
                                                       ¶ 5). See also Modiano Decl.
                     PLD0003380–3382.
            13                                         (Dkt. 229) ¶ 5.
                     Exhibit 174 to the Declaration Contains sensitive information        Granted.
            14       of Geoffrey Sigler (Dkt. 209-8), regarding medical treatments
            15       letter introduced as Exhibit 5 to sought or obtained (PHI/PII,
                                                       Renewed Blas Decl. ¶ 4;
                     the deposition of named
            16       plaintiff CJ and bates numbered Second Blas Decl. (Dkt. 227)
                                                       ¶ 5). See also Modiano Decl.
                     PLTFIRSTPROD0000447.
            17                                         (Dkt. 229) ¶ 5..
                     Exhibit 175 to the Declaration Contains sensitive information        Granted.
            18
                     of Geoffrey Sigler (Dkt. 209-8), regarding medical treatments
            19       invoice introduced as Exhibit 6 sought or obtained (PHI/PII,
                                                       Renewed Blas Decl. ¶ 4;
                     to the deposition of named
            20       plaintiff CJ and bates numbered Second Blas Decl. (Dkt. 227)
                                                       ¶ 5). See also Modiano Decl.
                     PLTFIRSTPROD0000471.
            21                                         (Dkt. 229) ¶ 5.
                     Exhibit 176 to the Declaration Contains sensitive information        Granted.
            22
                     of Geoffrey Sigler (Dkt. 209-8), regarding medical treatments
            23       receipt introduced as Exhibit 8 sought or obtained (PHI/PII,
                                                       Renewed Blas Decl. ¶ 4;
                     to the deposition of named
            24       plaintiff CJ and bates numbered Second Blas Decl. (Dkt. 227)
                                                       ¶ 5). See also Modiano Decl.
                     PLD0003386–88.
            25                                         (Dkt. 229) ¶ 5.

            26       Exhibit 178 to the Declaration Contains sensitive information        Granted.
                     of Geoffrey Sigler (Dkt. 209-8), regarding medical treatments
            27       letter introduced as Exhibit 10 sought or obtained (PHI/PII,
                                                       Renewed Blas Decl. ¶ 4;
                     to the deposition of named
            28                                         Second Blas Decl. (Dkt. 227)
Gibson, Dunn &                                                        14
 Crutcher LLP
                     ORDER GRANTING IN PART DEFENDANTS’ RENEWED AND NARROWED ADMINISTRATIVE MOTION
                                                          TO SEAL
                                                 CASE NO. 4:20-CV-02254-YGR
                        Case 4:20-cv-02254-YGR Document 352 Filed 09/21/23 Page 15 of 50



                 1       Document or Portion of
                                                       Evidence Offered in Support
                         Document Sought to Be                                                 Ruling
                 2                                               of Sealing
                                   Sealed
                 3   plaintiff CJ and bates numbered ¶ 5). See also Modiano Decl.
                     UBH000002426.                    (Dkt. 229) ¶ 5.
                 4
                     Exhibit 179 to the Declaration Contains sensitive information Denied as overbroad.
                 5   of Geoffrey Sigler (Dkt. 209-8), regarding medical treatments
                                                      sought or obtained (PHI/PII,
                     named plaintiff BW’s
                                                      Renewed Blas Decl. ¶ 4;
                 6   supplemental response to
                                                      Second Blas Decl. (Dkt. 227)
                     UBH’s first set of
                 7                                    ¶ 5). See also Modiano Decl.
                     interrogatories, dated July 15,
                                                      (Dkt. 229) ¶ 5.
                     2022.
                 8
                     Exhibit 180 to the Declaration Contains sensitive information       Denied as overbroad.
                 9   of Geoffrey Sigler (Dkt. 209-8), regarding medical treatments
                     named plaintiff RH’s             sought or obtained (PHI/PII,
            10                                        Renewed Blas Decl. ¶ 4;
                     supplemental response to
                                                      Second Blas Decl. (Dkt. 227)
            11       UBH’s first set of
                                                      ¶ 5). See also Modiano Decl.
                     interrogatories, dated July 15,
            12                                        (Dkt. 229) ¶ 5.
                     2022.
            13       Exhibit 181 to the Declaration Contains sensitive information       Denied as overbroad.
                     of Geoffrey Sigler (Dkt. 209-9), regarding medical treatments
                                                      sought or obtained (PHI/PII,
            14       named plaintiff LD’s
                                                      Renewed Blas Decl. ¶ 4;
                     supplemental response to
            15                                        Second Blas Decl. (Dkt. 227)
                     UBH’s first set of
                                                      ¶ 5). See also Modiano Decl.
                     interrogatories, dated July 15,
            16                                        (Dkt. 229) ¶ 5.
                     2022.
            17       Exhibit 182 to the Declaration Contains sensitive information       Denied as overbroad.
                     of Geoffrey Sigler (Dkt. 209-9), regarding medical treatments
            18                                        sought or obtained (PHI/PII,
                     named plaintiff DB’s
                                                      Renewed Blas Decl. ¶ 4;
            19       supplemental response to
                                                      Second Blas Decl. (Dkt. 227)
                     UBH’s first set of
            20                                        ¶ 5). See also Modiano Decl.
                     interrogatories, dated July 15,
                                                      (Dkt. 229) ¶ 4.
                     2022.
            21
                     Exhibit 183 to the Declaration Contains sensitive information       Denied as overbroad.
            22       of Geoffrey Sigler (Dkt. 209-9), regarding medical treatments
                                                      sought or obtained (PHI/PII,
                     named plaintiff CJ’s
            23                                        Renewed Blas Decl. ¶ 4;
                     supplemental response to
                                                      Second Blas Decl. (Dkt. 227)
                     UBH’s first set of
            24                                        ¶ 5). See also Modiano Decl.
                     interrogatories, dated July 15,
                                                      (Dkt. 229) ¶ 4.
            25       2022.
                                                         Contains highly confidential
                     Portions of Exhibit 184 to the                                     Granted as to the specified
            26                                           and commercially-sensitive
                     Declaration of Geoffrey Sigler                                     citations only.
                                                         information about MultiPlan’s
            27       (Dkt. 209-9), a transcript of the
                                                         proprietary Viant OPR product.
                     September 26, 2022 deposition
                                                         The public disclosure of such
            28       of Plaintiffs’ proposed expert,
Gibson, Dunn &                                                       15
 Crutcher LLP
                     ORDER GRANTING IN PART DEFENDANTS’ RENEWED AND NARROWED ADMINISTRATIVE MOTION
                                                          TO SEAL
                                                 CASE NO. 4:20-CV-02254-YGR
                        Case 4:20-cv-02254-YGR Document 352 Filed 09/21/23 Page 16 of 50



                 1       Document or Portion of
                                                      Evidence Offered in Support
                         Document Sought to Be                                                    Ruling
                 2                                                of Sealing
                                   Sealed
                 3   Dr. Robert L. Ohsfeldt, 83:7-   information would cause
                     87:20; 88:18-89:19; 92:2-12;    immediate and irreparable
                 4   92:15-93:10; 94:2-96:12;        harm to MultiPlan’s business,
                     97:15-98:17; 99:2-19; 107:4-    as well as its relationship with
                 5   108:16; 113:21-116:17; 118:24- United, one of its clients. In
                     120:4; 122:4-125:4; 128:16-19; particular, this information, if
                 6
                     128:21-129:23; 133:1-136:1;     disclosed, would place
                 7   161:2-162:24; 163:4-164:6;      MultiPlan at a commercial
                     198:17-200:13; 203:15-204:25. disadvantage by undermining
                 8                                   its role in the highly
                                                     competitive market for the
                 9                                   provision of cost-containment
                                                     services (Supp. Wilde Decl.
            10
                                                     (227-4) ¶¶ 7-9).
            11       Exhibit 189 to the Declaration Contains sensitive information Granted.
                     of Geoffrey Sigler (Dkt. 209-9) regarding medical treatments
            12                                       sought or obtained (PHI/PII,
                     131:1-10, 131:15-22, 132:20-
            13       25, excerpts from the certified Renewed Blas Decl. ¶ 4;
                                                     Second Blas Decl. (Dkt. 227)
                     transcript of Volume I of the
            14                                       ¶ 5).
                     Rule 30(b)(6) deposition of
                     Summit Estate, by its designee
            15       Joan Borsten, taken in this
            16       matter on July 28, 2022.

            17
                     Narrowed version refiled
            18       concurrently herewith.

            19       Exhibit 190 to the Declaration Document intentionally
                     of Geoffrey Sigler (Dkt. 209-9), withdrawn because it was not
                                                      cited to or relied upon in the
            20       excerpts from the certified
                                                      briefing. See Renewed Blas
                     transcript of Volume I of the
            21                                        Decl., Appendix.
                     Rule 30(b)(6) deposition of
                     Summit Estate, by its designee
            22
                     Joan Borsten, taken in this
            23       matter on July 28, 2022.
                     Exhibit 192 to the Declaration Contains sensitive information     Granted.
            24                                        regarding medical treatments
                     of Geoffrey Sigler (Dkt. 209-
                                                      sought or obtained (PHI/PII,
            25       10), documents introduced as
                     Exhibits 4–30 to the deposition Renewed Blas Decl. ¶ 4;
                                                      Second Blas Decl. (Dkt. 227)
            26       of Summit Estate (Joan
                                                      ¶ 5).
                     Borsten).
            27
                     Exhibit 193 to the Declaration Contains sensitive information     Granted.
                                                      regarding medical treatments
            28       of Geoffrey Sigler (Dkt. 209-
Gibson, Dunn &                                                     16
 Crutcher LLP
                     ORDER GRANTING IN PART DEFENDANTS’ RENEWED AND NARROWED ADMINISTRATIVE MOTION
                                                          TO SEAL
                                                 CASE NO. 4:20-CV-02254-YGR
                        Case 4:20-cv-02254-YGR Document 352 Filed 09/21/23 Page 17 of 50



                 1      Document or Portion of
                                                      Evidence Offered in Support
                        Document Sought to Be                                                     Ruling
                 2                                             of Sealing
                                 Sealed
                 3   10), documents introduced as    sought or obtained (PHI/PII,
                     Exhibits 1–7 and 9–14 to the    Renewed Blas Decl. ¶ 4;
                 4   deposition of Summit Estate     Second Blas Decl. (Dkt. 227)
                     (Creyna Franco).                ¶ 5).
                 5
                     Exhibit 194 to the Declaration Contains sensitive information     Granted.
                                                     regarding medical treatments
                 6   of Geoffrey Sigler (Dkt. 209-
                     10), spreadsheets produced by sought or obtained (PHI/PII,
                 7   Summit Estate in response to a Renewed Blas Decl. ¶ 4;
                                                     Second Blas Decl. (Dkt. 227)
                     subpoena from United
                 8
                     Defendants as SUMMIT 07036 ¶ 5).
                 9   and introduced as Exhibit 8 to
                     the deposition of Summit Estate
            10       (Creyna Franco) taken in this
                     matter on June 28, 2022.
            11
                     Exhibit 196 to the Declaration Spreadsheet contains sensitive     Granted.
            12                                       information regarding medical
                     of Geoffrey Sigler (Dkt. 209-
                     10), spreadsheets produced by treatments sought or obtained
            13       Summit Estate in response to a (PHI/PII, Renewed Blas Decl.
                                                     ¶ 4; Second Blas Decl. (Dkt.
                     subpoena from United
            14                                       227) ¶ 5).
                     Defendants in this action as
            15       SUMMIT 07037.
                                                      Spreadsheet contains sensitive
                     Exhibit 198 to the Declaration                                    Granted.
            16                                        information regarding medical
                     of Geoffrey Sigler (Dkt. 209-
                                                      treatments sought or obtained
            17       10), spreadsheets produced by
                                                      (PHI/PII, Renewed Blas Decl.
                     Summit Estate in response to a
            18                                        ¶ 4; Second Blas Decl. (Dkt.
                     subpoena from United
                                                      227) ¶ 5).
                     Defendants in this action as
            19       SUMMIT 07038.
            20                                        Spreadsheet contains sensitive
                     Exhibit 200 to the Declaration                                    Granted.
                                                      information regarding medical
                     of Geoffrey Sigler (Dkt. 209-
            21                                        treatments sought or obtained
                     10), spreadsheets produced by
                                                      (PHI/PII, Renewed Blas Decl.
                     Summit Estate in response to a
            22                                        ¶ 4; Second Blas Decl. (Dkt.
                     subpoena from United
                                                      227) ¶ 5).
            23       Defendants in this action as
                     SUMMIT 07039.
            24                                        Spreadsheet contains sensitive
                     Exhibit 202 to the Declaration                                    Granted.
                                                      information regarding medical
            25       of Geoffrey Sigler (Dkt. 209-
                                                      treatments sought or obtained
                     11), spreadsheets produced by
            26                                        (PHI/PII, Renewed Blas Decl.
                     Summit Estate in response to a
                                                      ¶ 4; Second Blas Decl. (Dkt.
                     subpoena from United
            27                                        227) ¶ 5).
                     Defendants in this action as
            28       SUMMIT 07040.
Gibson, Dunn &                                                     17
 Crutcher LLP
                     ORDER GRANTING IN PART DEFENDANTS’ RENEWED AND NARROWED ADMINISTRATIVE MOTION
                                                          TO SEAL
                                                 CASE NO. 4:20-CV-02254-YGR
                        Case 4:20-cv-02254-YGR Document 352 Filed 09/21/23 Page 18 of 50



                 1      Document or Portion of
                                                        Evidence Offered in Support
                        Document Sought to Be                                                        Ruling
                 2                                               of Sealing
                              Sealed
                 3                                      Spreadsheet contains sensitive
                     Exhibit 205 to the Declaration                                      Granted.
                                                        information regarding medical
                     of Geoffrey Sigler (Dkt. 209-
                 4                                      treatments sought or obtained
                     11), spreadsheets produced by
                                                        (PHI/PII, Renewed Blas Decl.
                 5   Summit Estate in response to a
                                                        ¶ 4; Second Blas Decl. (Dkt.
                     subpoena from United
                                                        227) ¶ 5 Second Blas Decl.
                 6   Defendants as SUMMIT 7077
                                                        (Dkt. 227) ¶ 5).
                     and introduced as Exhibit 35 to
                 7   the deposition of Joan Borsten
                     taken in this matter on July 28,
                 8
                     2022.
                 9                                      Spreadsheet contains sensitive
                     Exhibit 206 to the Declaration                                      Granted.
                     of Geoffrey Sigler (Dkt. 209-      information regarding medical
            10                                          treatments sought or obtained
                     11), spreadsheets produced by
                                                        (PHI/PII, Renewed Blas Decl.
            11       Summit Estate in response to a
                                                        ¶ 4; Second Blas Decl. (Dkt.
                     subpoena from United
                                                        227) ¶ 5).
            12       Defendants as SUMMIT 7078
                     and introduced as Exhibit 36 to
            13       the deposition of Joan Borsten
                     taken in this matter on July 28,
            14
                     2022.
            15                                          Spreadsheet contains sensitive
                     Exhibit 207 to the Declaration                                      Granted.
                                                        information regarding medical
                     of Geoffrey Sigler (Dkt. 209-
            16                                          treatments sought or obtained
                     11), spreadsheets produced by
                                                        (PHI/PII, Renewed Blas Decl.
            17       Summit Estate in response to a
                                                        ¶ 4; Second Blas Decl. (Dkt.
                     subpoena from United
            18                                          227) ¶ 5).
                     Defendants in this action as
                     SUMMIT 7079 and introduced
            19       as Exhibit 37 to the deposition
                     of Joan Borsten taken in this
            20
                     matter on July 28, 2022.
            21                                          Spreadsheet contains sensitive
                     Exhibit 208 to the Declaration                                      Granted.
                                                        information regarding medical
                     of Geoffrey Sigler (Dkt. 209-
            22                                          treatments sought or obtained
                     11), spreadsheets produced by
                                                        (PHI/PII, Renewed Blas Decl.
            23       Summit Estate in response to a
                                                        ¶ 4; Second Blas Decl. (Dkt.
                     subpoena from United
            24                                          227) ¶ 5).
                     Defendants as SUMMIT 7080
                     and introduced as Exhibit 38 to
            25       the deposition of Joan Borsten
                     taken in this matter on July 28,
            26
                     2022.
            27                                          Contains names of third parties Granted as to PHI/PII only.
                     Exhibit 210 to the Declaration
                                                        and sensitive information
                     of Geoffrey Sigler (Dkt. 209-
            28                                          regarding medical treatments
Gibson, Dunn &                                                        18
 Crutcher LLP
                     ORDER GRANTING IN PART DEFENDANTS’ RENEWED AND NARROWED ADMINISTRATIVE MOTION
                                                          TO SEAL
                                                 CASE NO. 4:20-CV-02254-YGR
                        Case 4:20-cv-02254-YGR Document 352 Filed 09/21/23 Page 19 of 50



                 1       Document or Portion of
                                                         Evidence Offered in Support
                         Document Sought to Be                                                        Ruling
                 2                                                of Sealing
                                  Sealed
                 3   11), transcript by the court        sought or obtained (PHI/PII,
                     reporting service, Veritext, of a   Renewed Blas Decl. ¶ 4;
                 4   call recording separately           Second Blas Decl. (Dkt. 227)
                     produced by third party Ocean       ¶ 5).
                 5   Breeze Recovery as an audio
                     file bates numbered
                 6
                     OBR000089.
                 7                                       Contains names of third parties Granted as to PHI/PII only.
                     Exhibit 211 to the Declaration
                                                         and sensitive information
                     of Geoffrey Sigler (Dkt. 209-
                 8                                       regarding medical treatments
                     12), transcript by the court
                                                         sought or obtained (PHI/PII,
                 9   reporting service, Veritext, of a
                                                         Renewed Blas Decl. ¶ 4;
                     call recording separately
            10                                           Second Blas Decl. (Dkt. 227) ¶
                     produced by third party Ocean
                                                         5).
                     Breeze Recovery as an audio
            11       file bates numbered
                     OBR000090.
            12
                                                         Contains names of third parties Granted as to PHI/PII only.
                     Exhibit 212 to the Declaration
            13                                           and sensitive information
                     of Geoffrey Sigler (Dkt. 209-
                                                         regarding medical treatments
                     12), transcript by the court
            14                                           sought or obtained (PHI/PII,
                     reporting service, Veritext, of a
                                                         Renewed Blas Decl. ¶ 4;
            15       call recording separately
                                                         Second Blas Decl. (Dkt. 227)
                     produced by third party Ocean
            16                                           ¶ 5).
                     Breeze Recovery as an audio
                     file bates numbered
            17       OBR000091.
            18                                           Contains names of third parties Granted as to PHI/PII only.
                     Exhibit 213 to the Declaration
                                                         and sensitive information
                     of Geoffrey Sigler (Dkt. 209-
            19                                           regarding medical treatments
                     12), transcript by the court
                                                         sought or obtained (PHI/PII,
                     reporting service, Veritext, of a
            20                                           Renewed Blas Decl. ¶ 4;
                     call recording separately
                                                         Second Blas Decl. (Dkt. 227)
            21       produced by third party Ocean
                                                         ¶ 5).
                     Breeze Recovery as an audio
            22       file bates numbered
                     OBR000092.
            23                                           Contains names of third parties Granted as to PHI/PII only.
                     Exhibit 214 to the Declaration
            24                                           and sensitive information
                     of Geoffrey Sigler (Dkt. 209-
                                                         regarding medical treatments
                     12), transcript by the court
            25                                           sought or obtained (PHI/PII,
                     reporting service, Veritext, of a
                                                         Renewed Blas Decl. ¶ 4;
            26       call recording separately
                                                         Second Blas Decl. (Dkt. 227)
                     produced by third party Ocean
                                                         ¶ 5).
            27       Breeze Recovery as an audio
                     file bates numbered
            28       OBR000093.
Gibson, Dunn &                                                        19
 Crutcher LLP
                     ORDER GRANTING IN PART DEFENDANTS’ RENEWED AND NARROWED ADMINISTRATIVE MOTION
                                                          TO SEAL
                                                 CASE NO. 4:20-CV-02254-YGR
                        Case 4:20-cv-02254-YGR Document 352 Filed 09/21/23 Page 20 of 50



                 1      Document or Portion of
                                                         Evidence Offered in Support
                        Document Sought to Be                                                         Ruling
                 2                                                of Sealing
                              Sealed
                 3                                       Contains names of third parties Granted as to PHI/PII only.
                     Exhibit 215 to the Declaration
                                                         and sensitive information
                     of Geoffrey Sigler (Dkt. 209-
                 4                                       regarding medical treatments
                     12), transcript by the court
                                                         sought or obtained (PHI/PII,
                 5   reporting service, Veritext, of a
                                                         Renewed Blas Decl. ¶ 4;
                     call recording separately
                                                         Second Blas Decl. (Dkt. 227)
                 6   produced by third party
                                                         ¶ 5).
                     Pathway to Hope as an audio
                 7   file bates numbered
                     PTH000102.
                 8
                                                         Contains names of third parties Granted as to PHI/PII only.
                     Exhibit 216 to the Declaration
                 9                                       and sensitive information
                     of Geoffrey Sigler (Dkt. 209-
                     12), transcript by the court        regarding medical treatments
            10                                           sought or obtained (PHI/PII,
                     reporting service, Veritext, of a
                                                         Renewed Blas Decl. ¶ 4;
            11       call recording separately
                                                         Second Blas Decl. (Dkt. 227)
                     produced by third party
                                                         ¶ 5).
            12       Pathway to Hope as an audio
                     file bates numbered
            13       PTH000103.
                                                         Contains names of third parties Granted as to PHI/PII only.
            14       Exhibit 217 to the Declaration
                                                         and sensitive information
                     of Geoffrey Sigler (Dkt. 209-
            15                                           regarding medical treatments
                     12), transcript by the court
                                                         sought or obtained (PHI/PII,
                     reporting service, Veritext, of a
            16                                           Renewed Blas Decl. ¶ 4;
                     call recording separately
                                                         Second Blas Decl. (Dkt. 227)
            17       produced by third party
                                                         ¶ 5).
                     Pathway to Hope as an audio
            18       file bates numbered
                     PTH000104.
            19                                           Contains names of third parties Granted as to PHI/PII only.
                     Exhibit 218 to the Declaration
                                                         and sensitive information
            20       of Geoffrey Sigler (Dkt. 209-
                                                         regarding medical treatments
                     12), transcript by the court
            21                                           sought or obtained (PHI/PII,
                     reporting service, Veritext, of a
                                                         Renewed Blas Decl. ¶ 4;
                     call recording separately
            22                                           Second Blas Decl. (Dkt. 227)
                     produced by third party
                                                         ¶ 5).
            23       Pathway to Hope as an audio
                     file bates numbered
            24       PTH000105.
                                                         Contains names of third parties Granted as to PHI/PII only.
            25       Exhibit 219 to the Declaration
                                                         and sensitive information
                     of Geoffrey Sigler (Dkt. 209-
            26                                           regarding medical treatments
                     12), transcript by the court
                                                         sought or obtained (PHI/PII,
                     reporting service, Veritext, of a
            27                                           Renewed Blas Decl. ¶ 4;
                     call recording separately
                                                         Second Blas Decl. (Dkt. 227)
                     produced by third party
            28                                           ¶ 5).
Gibson, Dunn &                                                         20
 Crutcher LLP
                     ORDER GRANTING IN PART DEFENDANTS’ RENEWED AND NARROWED ADMINISTRATIVE MOTION
                                                          TO SEAL
                                                 CASE NO. 4:20-CV-02254-YGR
                        Case 4:20-cv-02254-YGR Document 352 Filed 09/21/23 Page 21 of 50



                 1       Document or Portion of
                                                         Evidence Offered in Support
                         Document Sought to Be                                                        Ruling
                 2                                                of Sealing
                                  Sealed
                 3   Pathway to Hope as an audio
                     file bates numbered
                 4   PTH000106.
                                                         Contains names of third parties Granted as to PHI/PII only.
                 5   Exhibit 220 to the Declaration
                                                         and sensitive information
                     of Geoffrey Sigler (Dkt. 209-
                                                         regarding medical treatments
                 6   12), transcript by the court
                                                         sought or obtained (PHI/PII,
                     reporting service, Veritext, of a
                 7                                       Renewed Blas Decl. ¶ 4;
                     call recording separately
                                                         Second Blas Decl. (Dkt. 227)
                     produced by third party
                 8                                       ¶ 5).
                     Pathway to Hope as an audio
                 9   file bates numbered
                     PTH000107.
            10                                           Contains names of third parties Granted as to PHI/PII only.
                     Exhibit 221 to the Declaration
                                                         and sensitive information
            11       of Geoffrey Sigler (Dkt. 209-
                                                         regarding medical treatments
                     13), transcript by the court
            12                                           sought or obtained (PHI/PII,
                     reporting service, Veritext, of a
                                                         Renewed Blas Decl. ¶ 4;
                     call recording separately
            13                                           Second Blas Decl. (Dkt. 227)
                     produced by third party
                                                         ¶ 5).
                     Pathway to Hope as an audio
            14
                     file bates numbered
            15       PTH000108.
                                                         Contains names of third parties Granted as to PHI/PII only.
                     Exhibit 222 to the Declaration
            16                                           and sensitive information
                     of Geoffrey Sigler (Dkt. 209-
                                                         regarding medical treatments
            17       13), transcript by the court
                                                         sought or obtained (PHI/PII,
                     reporting service, Veritext, of a
            18                                           Renewed Blas Decl. ¶ 4;
                     call recording separately
                                                         Second Blas Decl. (Dkt. 227)
                     produced by third party
            19                                           ¶ 5).
                     Pathway to Hope as an audio
                     file bates numbered
            20
                     PTH000109.
            21                                           Contains names of third parties Granted as to PHI/PII only.
                     Exhibit 223 to the Declaration
                                                         and sensitive information
                     of Geoffrey Sigler (Dkt. 209-
            22                                           regarding medical treatments
                     13), transcript by the court
                                                         sought or obtained (PHI/PII,
            23       reporting service, Veritext, of a
                                                         Renewed Blas Decl. ¶ 4;
                     call recording separately
            24                                           Second Blas Decl. (Dkt. 227)
                     produced by third party
                                                         ¶ 5).
                     Pathway to Hope as an audio
            25       file bates numbered
            26       PTH000110.
                                                         Contains names of third parties
                     Exhibit 224 to the Declaration                                      Granted as to PHI/PII only.
            27                                           and sensitive information
                     of Geoffrey Sigler (Dkt. 209-
                                                         regarding medical treatments
            28       13), transcript by the court
                                                         sought or obtained (PHI/PII,
Gibson, Dunn &                                                         21
 Crutcher LLP
                     ORDER GRANTING IN PART DEFENDANTS’ RENEWED AND NARROWED ADMINISTRATIVE MOTION
                                                          TO SEAL
                                                 CASE NO. 4:20-CV-02254-YGR
                        Case 4:20-cv-02254-YGR Document 352 Filed 09/21/23 Page 22 of 50



                 1       Document or Portion of
                                                        Evidence Offered in Support
                         Document Sought to Be                                                   Ruling
                 2                                                of Sealing
                                  Sealed
                 3   reporting service, Veritext, of a Renewed Blas Decl. ¶ 4;
                     call recording separately         Second Blas Decl. (Dkt. 227)
                 4   produced by third party           ¶ 5).
                     Pathway to Hope as an audio
                 5   file bates numbered
                     PTH000111.
                 6
                     Exhibit 225 to the Declaration Contains names of third parties Granted as to PHI/PII only.
                 7                                     and sensitive information
                     of Geoffrey Sigler (Dkt. 209-
                                                       regarding medical treatments
                     13), transcript by the court
                 8
                     reporting service, Veritext, of a sought or obtained (PHI/PII,
                                                       Renewed Blas Decl. ¶ 4;
                 9   call recording separately
                                                       Second Blas Decl. (Dkt. 227)
                     produced by third party PCI
            10                                         ¶ 5).
                     West Lake as an audio file
                     bates numbered CSVOB225.
            11                                           Contains names of third parties Granted as to PHI/PII only.
                     Exhibit 226 to the Declaration
            12                                           and sensitive information
                     of Geoffrey Sigler (Dkt. 209-
                                                         regarding medical treatments
                     13), transcript by the court
            13                                           sought or obtained (PHI/PII,
                     reporting service, Veritext, of a
                                                         Renewed Blas Decl. ¶ 4;
                     call recording separately
            14                                           Second Blas Decl. (Dkt. 227)
                     produced by third party PCI
                                                         ¶ 5).
            15       West Lake as an audio file
                     bates numbered JMVOB224.
            16
                     Exhibit 227 to the Declaration Contains information about fee Tentatively denied as overbroad.
                                                    arrangements with UHC
            17       of Geoffrey Sigler (Dkt. 209-                                  No indication of which if any
                     13), presentation titled “JPMC customers (Category 1, Second provisions remain competitive in
                                                    Paradise Decl. (Dkt. 215-4)
            18       Out-Of-Network Programs”                                       2023.
                     produced by JPMorganChase in ¶ 4) and commercially sensitive Some of these documents are
            19                                      information regarding United’s
                     this action in response to a
                                                    proprietary out-of-network      unsigned and are drafts. Many
                     subpoena by Plaintiffs as
            20                                      programs, including specific    provisions are generic. More
                     JPMorgan Chase_000130–
                                                    details of financial            specific information is required.
            21       000145.
                                                    arrangements that are still in
            22                                      effect between UHC and a third
                                                    party plan sponsor, plan
            23                                      features, and handwritten notes
                                                    made by a third party plan
            24                                      sponsor (Renewed Paradise
                                                    Decl. ¶ 4; see also Category 2,
            25                                      Second Paradise Decl. (Dkt.
            26                                      215-4) ¶ 5).
                                                    Contains information about fee
                     Exhibit 228 to the Declaration                                 Granted.
            27                                      arrangements    with UHC
                     of Geoffrey Sigler (Dkt. 209-
                                                    customers (Category 1, Second
            28       13), written answers to
                                                    Paradise Decl. ¶ ) and
Gibson, Dunn &                                                     22
 Crutcher LLP
                     ORDER GRANTING IN PART DEFENDANTS’ RENEWED AND NARROWED ADMINISTRATIVE MOTION
                                                          TO SEAL
                                                 CASE NO. 4:20-CV-02254-YGR
                        Case 4:20-cv-02254-YGR Document 352 Filed 09/21/23 Page 23 of 50



                 1      Document or Portion of
                                                       Evidence Offered in Support
                        Document Sought to Be                                                    Ruling
                 2                                              of Sealing
                                   Sealed
                 3   deposition questions provided     commercially sensitive
                     by a third-party plan sponsor,    information regarding United’s
                 4   Union Pacific, in response to a   proprietary out-of-network
                     deposition subpoena by            programs (Category 2, Second
                 5   Plaintiffs, 2:17-22.              Paradise Decl. ¶ 5). See also
                                                       Renewed Sullivan Decl. ¶
                 6
                                                       14(d); Sullivan Decl. (Dkt.
                 7   Narrowed version refiled          231) ¶ 14(a).
                     concurrently herewith.
                 8                                     Contains information about fee Granted.
                     Exhibit 228 to the Declaration
                                                       arrangements with UHC
                 9   of Geoffrey Sigler (Dkt. 209-
                                                       customers (Category 1, Second
                     13), written answers to
                                                       Paradise Decl. (Dkt. 215-4)
            10       deposition questions provided
                                                       ¶ 4). See also Renewed
                     by a third-party plan sponsor,
            11                                         Sullivan Decl. ¶ 14(d); Sullivan
                     Union Pacific, in response to a
                                                       Decl. (Dkt. 231) ¶ 14(b).
                     deposition subpoena by
            12       Plaintiffs, 3:8-18.
            13

            14       Narrowed version refiled
                     concurrently herewith.
            15                                         Contains information about fee Granted.
                     Exhibit 228 to the Declaration
                                                       arrangements with UHC
            16       of Geoffrey Sigler (Dkt. 209-
                                                       customers (Category 1, Second
                     13), written answers to
            17                                         Paradise Decl. (Dkt. 215-4)
                     deposition questions provided
                                                       ¶ 4) and commercially sensitive
                     by a third-party plan sponsor,
            18                                         information regarding United’s
                     Union Pacific, in response to a
                                                       proprietary out-of-network
            19       deposition subpoena by
                                                       programs (Category 2, Second
                     Plaintiffs, 6:3-15.
                                                       Paradise Decl. (Dkt. 215-4)
            20                                         ¶ 5). See also Renewed
            21       Narrowed version refiled          Sullivan Decl. ¶ 14(d); Sullivan
                     concurrently herewith.            Decl. (Dkt. 231) ¶ 14(c).
            22                                         Contains information about fee Granted.
                     Exhibit 228 to the Declaration
                                                       arrangements with UHC
            23       of Geoffrey Sigler (Dkt. 209-
                                                       customers (Category 1, Second
                     13), written answers to
            24                                         Paradise Decl. (Dkt. 215-4)
                     deposition questions provided
                                                       ¶ 4) and commercially sensitive
                     by a third-party plan sponsor,
            25                                         information regarding United’s
                     Union Pacific, in response to a
                                                       proprietary out-of-network
            26       deposition subpoena by
                                                       programs (Category 2, Second
                     Plaintiffs, 7:1-25.
                                                       Paradise Decl. (Dkt. 215-4)
            27
                                                       ¶ 5). See also Renewed
            28
Gibson, Dunn &                                                     23
 Crutcher LLP
                     ORDER GRANTING IN PART DEFENDANTS’ RENEWED AND NARROWED ADMINISTRATIVE MOTION
                                                          TO SEAL
                                                 CASE NO. 4:20-CV-02254-YGR
                        Case 4:20-cv-02254-YGR Document 352 Filed 09/21/23 Page 24 of 50



                 1      Document or Portion of
                                                      Evidence Offered in Support
                        Document Sought to Be                                                    Ruling
                 2                                             of Sealing
                              Sealed
                 3                                    Sullivan Decl. ¶ 14(d); Sullivan
                     Narrowed version refiled
                                                      Decl. (Dkt. 231) ¶ 14(d).
                     concurrently herewith.
                 4
                                                     Contains names of third parties Granted.
                     Exhibit 230 to the Declaration
                 5                                   and sensitive information
                     of Geoffrey Sigler (Dkt. 209-
                                                     regarding medical treatments
                     13), chart listing the random
                 6                                   sought or obtained (PHI/PII,
                     sample selected by the United
                                                     Renewed Blas Decl. ¶ 4;
                 7   Defendants, using RAT-
                                                     Second Blas Decl. (Dkt. 227)
                     STATS.
                                                     ¶ 5).
                 8
                     Excerpts from the Declaration Contains highly detailed,          Granted.
                 9   of Sean Crandell (Dkt. 211), ¶¶ proprietary information
                     9–19, 22, 25–43, 47–55, 57–61, regarding the Viant OPR
            10                                       product design and
                     and 64–67.
                                                     methodology that, if disclosed,
            11                                       could allow others to copy
            12                                       MultiPlan’s approach and
                                                     could undermine MultiPlan’s
            13                                       competitive advantage in the
                                                     marketplace (Wilde Decl. (Dkt.
            14                                       215-5) ¶¶ 19-21)).
            15       Exhibit A to the Declaration of Contains highly confidential,    Granted.
                     Sean Crandell, the Viant OPR proprietary, and commercially
            16                                       sensitive information involving
                     Explanation of Methodology
                                                     MultiPlan’s proprietary Viant
                     dated June 2009.
            17                                       OPR product design and
                                                     methodology, the public
            18                                       disclosure of which would
                                                     cause immediate and
            19                                       irreparable harm to MultiPlan’s
            20                                       business; describes and
                                                     explains in detail MultiPlan’s
            21                                       proprietary Viant OPR product
                                                     design and methodology;
            22                                       contains specific step-by-step
                                                     processes for calculating claims
            23
                                                     reimbursement
            24                                       recommendations using
                                                     MultiPlan’s proprietary Viant
            25                                       OPR product and methodology,
                                                     as well as an explanation of
            26                                       how the methodology was
                                                     developed and how it works,
            27
                                                     all of which could be used by
            28                                       MultiPlan’s competitors to
Gibson, Dunn &                                                     24
 Crutcher LLP
                     ORDER GRANTING IN PART DEFENDANTS’ RENEWED AND NARROWED ADMINISTRATIVE MOTION
                                                          TO SEAL
                                                 CASE NO. 4:20-CV-02254-YGR
                        Case 4:20-cv-02254-YGR Document 352 Filed 09/21/23 Page 25 of 50



                 1      Document or Portion of
                                                       Evidence Offered in Support
                        Document Sought to Be                                                      Ruling
                 2                                              of Sealing
                              Sealed
                 3                                     “reverse engineer” its
                                                       proprietary Viant OPR product
                 4                                     and methodology (Wilde Decl.
                                                       (Dkt. 215-5) ¶¶ 10, 13, 15;
                 5                                     Crandell Decl. (Dkt. 211)
                                                       ¶¶ 13, 25).
                 6

                 7                                     Further, the information
                                                       contained in this document
                 8                                     continues to be proprietary and
                                                       confidential. While the date of
                 9                                     this document is more than 3
                                                       years old and while certain
            10
                                                       portions have been updated, the
            11                                         document as a whole remains
                                                       relevant and it reflects and is
            12                                         consistent with current
                                                       practices.
            13                                         Contains highly confidential,
                     Exhibit B to the Declaration of                                    Granted.
            14                                         proprietary, and commercially
                     Sean Crandell, the Viant OPR
                                                       sensitive information involving
                     Explanation of Methodology
            15                                         MultiPlan’s proprietary Viant
                     dated June 2016.
                                                       OPR product design and
            16                                         methodology, the public
                                                       disclosure of which would
            17                                         cause immediate and
            18                                         irreparable harm to MultiPlan’s
                                                       business; describes and
            19                                         explains in detail MultiPlan’s
                                                       proprietary Viant OPR product
            20                                         design and methodology;
                                                       contains specific step-by-step
            21
                                                       processes for calculating claims
            22                                         reimbursement
                                                       recommendations using
            23                                         MultiPlan’s proprietary Viant
                                                       OPR product and methodology,
            24                                         as well as an explanation of
                                                       how the methodology was
            25
                                                       developed and how it works,
            26                                         all of which could be used by
                                                       MultiPlan’s competitors to
            27                                         “reverse engineer” its
                                                       proprietary Viant OPR product
            28                                         and methodology (Wilde Decl.
Gibson, Dunn &                                                       25
 Crutcher LLP
                     ORDER GRANTING IN PART DEFENDANTS’ RENEWED AND NARROWED ADMINISTRATIVE MOTION
                                                          TO SEAL
                                                 CASE NO. 4:20-CV-02254-YGR
                        Case 4:20-cv-02254-YGR Document 352 Filed 09/21/23 Page 26 of 50



                 1      Document or Portion of
                                                       Evidence Offered in Support
                        Document Sought to Be                                                     Ruling
                 2                                              of Sealing
                              Sealed
                 3                                     (Dkt. 215-5) ¶¶ 10, 13, 15;
                                                       Crandell Decl. (Dkt. 211)
                 4                                     ¶¶ 13, 25).

                 5                                   Further, the information
                                                     contained in this document
                 6
                                                     continues to be proprietary and
                 7                                   confidential. While the date of
                                                     this document is more than 3
                 8                                   years old and while certain
                                                     portions have been updated, the
                 9                                   document as a whole remains
                                                     relevant and it reflects and is
            10
                                                     consistent with current
            11                                       practices.
                     Exhibit C to the Declaration of Provides a detailed explanation Granted.
            12
                     Sean Crandell, the Viant OPR of the proprietary Viant OPR
            13       Module, or "whitepaper," dated product design and
                                                     methodology, including how it
                     September 2018.
            14                                       was developed and how it
                                                     works (Wilde Decl. (Dkt. 215-
            15                                       5) ¶¶ 14, 15; Crandell Decl.
                                                     (Dkt. 211) ¶¶ 13, 25).
            16
                                                       Further, the information
            17                                         contained in this document
            18                                         continues to be proprietary and
                                                       confidential. While the date of
            19                                         this document is more than 3
                                                       years old and while certain
            20                                         portions have been updated, the
                                                       document as a whole remains
            21
                                                       relevant and it reflects and is
            22                                         consistent with current
                                                       practices.
            23                                         Contains commercially
                     Exhibit D to the Declaration of                                   Granted.
                                                       sensitive information
            24       Sean Crandell, a document
                                                       describing the various
                     titled “Behavioral Outpatient
                                                       components of Viant’s
            25       Health—Standard Missing
                                                       proprietary OPR methodology
                     Value Approach
            26                                         (Crandell Decl. (Dkt. 211)
                                                       ¶ 43). Internal document from
            27                                         2015, kept confidential within
                                                       MultiPlan, that provides
            28                                         information concerning the
Gibson, Dunn &                                                       26
 Crutcher LLP
                     ORDER GRANTING IN PART DEFENDANTS’ RENEWED AND NARROWED ADMINISTRATIVE MOTION
                                                          TO SEAL
                                                 CASE NO. 4:20-CV-02254-YGR
                        Case 4:20-cv-02254-YGR Document 352 Filed 09/21/23 Page 27 of 50



                 1      Document or Portion of
                                                       Evidence Offered in Support
                        Document Sought to Be                                                      Ruling
                 2                                              of Sealing
                              Sealed
                 3                                     process by which MultiPlan
                                                       supplies missing values that
                 4                                     are require to price certain
                                                       outpatient claims. This
                 5                                     particular document and the
                                                       methodology it sets forth is
                 6
                                                       proprietary to MultiPlan.
                 7                                     Public disclosure of this
                                                       document, and the proprietary
                 8                                     methodology described therein,
                                                       would allow others to copy
                 9                                     MultiPlan’s approach, to its
                                                       commercial and competitive
            10
                                                       detriment (Wilde Decl. (Dkt.
            11                                         215-5) ¶ 16).

            12                                         Further, the information
                                                       contained in this document
            13                                         continues to be proprietary and
            14                                         confidential. While the date of
                                                       this document is more than 3
            15                                         years old and while certain
                                                       portions have been updated, the
            16                                         document as a whole remains
                                                       relevant and it reflects and is
            17                                         consistent with current
            18                                         practices.
                                                       Contains commercially
                     Exhibit E to the Declaration of                                    Granted.
            19       Sean Crandell, MultiPlan          sensitive information
                                                       describing the various
            20       PowerPoint presentation.
                                                       components of Viant’s
                                                       proprietary OPR methodology
            21
                                                       (Crandell Decl. (Dkt. 111) ¶ 64
            22                                         n.9). Confidential marketing
                                                       presentation made by
            23                                         MultiPlan to United, which
                                                       presentation is replete with
            24                                         details about the proprietary
                                                       Viant OPR methodology and
            25
                                                       contains sensitive analyses
            26                                         about product design features,
                                                       and reveals client-specific
            27                                         strategy. Presentation
                                                       materials, like Exhibit E, which
            28                                         is unique to United, are not
Gibson, Dunn &                                                       27
 Crutcher LLP
                     ORDER GRANTING IN PART DEFENDANTS’ RENEWED AND NARROWED ADMINISTRATIVE MOTION
                                                          TO SEAL
                                                 CASE NO. 4:20-CV-02254-YGR
                        Case 4:20-cv-02254-YGR Document 352 Filed 09/21/23 Page 28 of 50



                 1      Document or Portion of
                                                      Evidence Offered in Support
                        Document Sought to Be                                                     Ruling
                 2                                             of Sealing
                              Sealed
                 3                                   disseminated publicly.
                                                     Disclosure of this highly
                 4                                   sensitive and proprietary
                                                     information could not only
                 5                                   harm MultiPlan’s relationship
                                                     with United, but also place
                 6
                                                     MultiPlan at a commercial
                 7                                   disadvantage by undermining
                                                     its role in the highly
                 8                                   competitive market for the
                                                     provision of cost- containment
                 9                                   services. (Wilde Decl. (Dkt.
                                                     215-5) ¶ 17).
            10

            11                                       Further, the information
                                                     contained in this document
            12                                       continues to be proprietary and
                                                     confidential. While the date of
            13                                       this document is more than 3
            14                                       years old and while certain
                                                     portions have been updated, the
            15                                       document as a whole remains
                                                     relevant and it reflects and is
            16                                       consistent with current
                                                     practices.
            17
                     Excerpts from the Declaration Contains highly detailed,         Denied as to ⁋⁋ 9, 10, and 14.
            18                                       proprietary information
                     of Kathleen Praxmarer (Dkt.                                     Otherwise granted, but see,
                                                     regarding the Viant OPR
                     212), ¶¶ 9–17.                                                  supra, n.1.
            19                                       product design and
                                                     methodology that, if disclosed,
            20                                       could allow others to copy
                                                     MultiPlan’s approach and
            21
                                                     could undermine MultiPlan’s
            22                                       competitive advantage in the
                                                     marketplace (Wilde Decl. (Dkt.
            23                                       215-5) ¶¶ 19-21).

            24       Exhibit A to the Declaration of Contains detailed descriptions Granted.
                                                     of Viant’s Patient Advocacy
                     Kathleen Praxmarer, Viant
                                                     Process and its Provider
            25       Facility Outpatient U&C
                                                     Inquiry Management Service;
                     Review Service: Explanation of
            26                                       describes the various
                     Methodology
                                                     components of Viant’s
            27                                       proprietary OPR service and
                                                     methodology as it existed for
            28                                       the time period at issue in the
Gibson, Dunn &                                                     28
 Crutcher LLP
                     ORDER GRANTING IN PART DEFENDANTS’ RENEWED AND NARROWED ADMINISTRATIVE MOTION
                                                          TO SEAL
                                                 CASE NO. 4:20-CV-02254-YGR
                        Case 4:20-cv-02254-YGR Document 352 Filed 09/21/23 Page 29 of 50



                 1      Document or Portion of
                                                       Evidence Offered in Support
                        Document Sought to Be                                                    Ruling
                 2                                              of Sealing
                              Sealed
                 3                                     Lawsuit (Praxmarer Decl. (Dkt.
                                                       212) ¶¶ 10, 13 n.1); Contains
                 4                                     highly confidential,
                                                       proprietary, and commercially
                 5                                     sensitive information involving
                                                       MultiPlan’s proprietary Viant
                 6
                                                       OPR product design and
                 7                                     methodology, the public
                                                       disclosure of which would
                 8                                     cause immediate and
                                                       irreparable harm to MultiPlan’s
                 9                                     business; describes and
                                                       explains in detail MultiPlan’s
            10
                                                       proprietary Viant OPR product
            11                                         design and methodology;
                                                       contains specific step-by-step
            12                                         processes for calculating claims
                                                       reimbursement
            13                                         recommendations using
            14                                         MultiPlan’s proprietary Viant
                                                       OPR product and methodology,
            15                                         as well as an explanation of
                                                       how the methodology was
            16                                         developed and how it works,
                                                       all of which could be used by
            17                                         MultiPlan’s competitors to
            18                                         “reverse engineer” its
                                                       proprietary Viant OPR product
            19                                         and methodology (Wilde Decl.
                                                       (Dkt. 215-5) ¶¶ 10, 13, 15).
            20
                                                       Further, the information
            21                                         contained in this document
            22                                         continues to be proprietary and
                                                       confidential. While the date of
            23                                         this document is more than 3
                                                       years old and while certain
            24                                         portions have been updated, the
                                                       document as a whole remains
            25
                                                       relevant and it reflects and is
            26                                         consistent with current
                                                       practices
            27                                         Contains detailed descriptions Granted.
                     Exhibit B to the Declaration of
                                                       of Viant’s Patient Advocacy
            28       Kathleen Praxmarer, Viant
                                                       Process and its Provider
Gibson, Dunn &                                                       29
 Crutcher LLP
                     ORDER GRANTING IN PART DEFENDANTS’ RENEWED AND NARROWED ADMINISTRATIVE MOTION
                                                          TO SEAL
                                                 CASE NO. 4:20-CV-02254-YGR
                        Case 4:20-cv-02254-YGR Document 352 Filed 09/21/23 Page 30 of 50



                 1      Document or Portion of
                                                      Evidence Offered in Support
                        Document Sought to Be                                            Ruling
                 2                                             of Sealing
                                 Sealed
                 3   Facility Outpatient U&C          Inquiry Management Service;
                     Review Service: Explanation of   describes the various
                 4   Methodology                      components of Viant’s
                                                      proprietary OPR service and
                 5                                    methodology as it existed for
                                                      the time period at issue in the
                 6
                                                      Lawsuit (Praxmarer Decl. (Dkt.
                 7                                    212) ¶¶ 10, 13 n.1); Contains
                                                      highly confidential,
                 8                                    proprietary, and commercially
                                                      sensitive information involving
                 9                                    MultiPlan’s proprietary Viant
                                                      OPR product design and
            10
                                                      methodology, the public
            11                                        disclosure of which would
                                                      cause immediate and
            12                                        irreparable harm to MultiPlan’s
                                                      business; describes and
            13                                        explains in detail MultiPlan’s
            14                                        proprietary Viant OPR product
                                                      design and methodology;
            15                                        contains specific step-by-step
                                                      processes for calculating claims
            16                                        reimbursement
                                                      recommendations using
            17                                        MultiPlan’s proprietary Viant
            18                                        OPR product and methodology,
                                                      as well as an explanation of
            19                                        how the methodology was
                                                      developed and how it works,
            20                                        all of which could be used by
                                                      MultiPlan’s competitors to
            21                                        “reverse engineer” its
            22                                        proprietary Viant OPR product
                                                      and methodology (Wilde Decl.
            23                                        (Dkt. 215-5) ¶¶ 10, 13, 15 )

            24                                        Further, the information
                                                      contained in this document
            25
                                                      continues to be proprietary and
            26                                        confidential. While the date of
                                                      this document is more than 3
            27                                        years old and while certain
                                                      portions have been updated, the
            28                                        document as a whole remains
Gibson, Dunn &                                                      30
 Crutcher LLP
                     ORDER GRANTING IN PART DEFENDANTS’ RENEWED AND NARROWED ADMINISTRATIVE MOTION
                                                          TO SEAL
                                                 CASE NO. 4:20-CV-02254-YGR
                        Case 4:20-cv-02254-YGR Document 352 Filed 09/21/23 Page 31 of 50



                 1      Document or Portion of
                                                       Evidence Offered in Support
                        Document Sought to Be                                                      Ruling
                 2                                              of Sealing
                              Sealed
                 3                                     relevant and it reflects and is
                                                       consistent with current
                 4                                     practices.
                                                       Contains detailed descriptions Granted.
                 5   Exhibit C to the Declaration of
                                                       of Viant’s Patient Advocacy
                     Kathleen Praxmarer, Viant
                                                       Process and its Provider
                 6   Facility U&C Review:
                                                       Inquiry Management Service;
                     Outpatient Review (OPR)
                 7                                     describes the various
                     Module
                                                       components of Viant’s
                 8                                     proprietary OPR service and
                                                       methodology as it existed for
                 9                                     the time period at issue in the
            10                                         Lawsuit (Praxmarer Decl. (Dkt.
                                                       212) ¶¶ 10, 13 n.1). Provides a
            11                                         detailed explanation of the
                                                       proprietary Viant OPR product
            12                                         design and methodology,
                                                       including how it was developed
            13                                         and how it works (Wilde Decl.
            14                                         (Dkt. 215-5) ¶¶ 14, 15).

            15                                       Further, the information
                                                     contained in this document
            16                                       continues to be proprietary and
                                                     confidential. While the date of
            17                                       this document is more than 3
            18                                       years old and while certain
                                                     portions have been updated, the
            19                                       document as a whole remains
                                                     relevant and it reflects and is
            20                                       consistent with current
                                                     practices.
            21
                     Exhibit 10 to the Compendium, Contains sensitive information Granted.
            22                                       regarding medical treatments
                     excerpts of business records
                                                     sought or obtained (PHI/PII,
                     produced by New Life
            23
                     Treatment Center in response to Renewed Blas Decl. ¶ 4;
                                                     Second Blas Decl. (Dkt. 227)
            24       a subpoena issued by the
                                                     ¶ 5).
                     United Defendants in this
            25       action, bates numbered between
                     NEW LIFE 01041–01044.
            26                                         Contains sensitive information
                     Exhibit 11 to the Compendium                                       Granted.
                                                       regarding medical treatments
            27       (Dkt. 210-2), billing records
                                                       sought or obtained (PHI/PII,
                     produced by Northeast
            28                                         Renewed Blas Decl. ¶ 4;
                     Addiction Treatment Center in
Gibson, Dunn &                                                      31
 Crutcher LLP
                     ORDER GRANTING IN PART DEFENDANTS’ RENEWED AND NARROWED ADMINISTRATIVE MOTION
                                                          TO SEAL
                                                 CASE NO. 4:20-CV-02254-YGR
                        Case 4:20-cv-02254-YGR Document 352 Filed 09/21/23 Page 32 of 50



                 1       Document or Portion of
                                                         Evidence Offered in Support
                         Document Sought to Be                                                       Ruling
                 2                                                of Sealing
                                  Sealed
                 3   response to a subpoena issued       Second Blas Decl. (Dkt. 227)
                     by the United Defendants in         ¶ 5 ).
                 4   this action on July 19, 2022
                     without bates numbers.
                 5                                       Contains sensitive information
                     Exhibit 13 to the Compendium                                         Granted.
                                                         regarding medical treatments
                 6   (Dkt. 210-2), billing records
                                                         sought or obtained (PHI/PII,
                     produced by Nova Recovery
                 7                                       Renewed Blas Decl. ¶ 4;
                     Center in response to a
                                                         Second Blas Decl. (Dkt. 227)
                     subpoena issued by the United
                 8                                       ¶ 5). See also Nova Recovery
                     Defendants in this action, bates
                                                         Decl. ¶¶ 5-8 (Dkt. 227-2).
                 9   numbered
                     CONFIDENTIAL_NRC00000
            10       1–218.
                                                         Contains sensitive information Granted.
            11       Exhibit 15 to the Compendium
                                                         regarding medical treatments
                     (Dkt. 210-2), billing records
            12                                           sought or obtained (PHI/PII,
                     produced by Ocean Breeze
                                                         Renewed Blas Decl. ¶ 4;
                     Recovery Center in response to
            13                                           Second Blas Decl. (Dkt. 227)
                     a subpoena issued by the
                                                         ¶ 5). See also Ocean Breeze
                     United Defendants in this
            14                                           and Pathway to Hope Recovery
                     action, bates numbered
                                                         Centers Decl. (Dkt. 227-3),
            15       CONFIDENTIAL_OBR00000
                                                         ¶¶ 5-8.
                     1–86.
            16                                           Contains sensitive information Granted.
                     Exhibit 16 to the Compendium
                                                         regarding medical treatments
            17       (Dkt. 210-2), a spreadsheet
                                                         sought or obtained (PHI/PII,
                     bates numbered OBR000087
            18                                           Renewed Blas Decl. ¶ 4;
                     and produced by Ocean Breeze
                                                         Second Blas Decl. (Dkt. 227)
                     Recovery in response to a
            19                                           ¶ 5). See also Ocean Breeze
                     subpoena issued by the United
                                                         and Pathway to Hope Recovery
                     Defendants in this action.
            20                                           Centers Decl. (Dkt. 227-3),
                                                         ¶¶ 5-8.
            21                                           Contains sensitive information Granted as to PHI/PII.
                     Exhibit 17 to the Compendium
            22                                           regarding medical treatments
                     (Dkt. 210-2), transcripts of call
                                                         sought or obtained (PHI/PII,
                     recordings produced by Ocean
            23                                           Renewed Blas Decl. ¶ 4;
                     Breeze Recovery Center in
                                                         Second Blas Decl. (Dkt. 227)
            24       response to a subpoena issued
                                                         ¶ 5). Remainder of document
                     by the United Defendants in
                                                         filed under provisional seal on
            25       this action and transcribed by
                                                         behalf of Ocean Breeze
                     Veritext, bates numbered
            26                                           Recovery Center. See also
                     OBR000089–93.
                                                         Ocean Breeze and Pathway to
            27                                           Hope Recovery Centers Decl.
                                                         (Dkt. 227-3), ¶¶ 5-8.
            28
Gibson, Dunn &                                                        32
 Crutcher LLP
                     ORDER GRANTING IN PART DEFENDANTS’ RENEWED AND NARROWED ADMINISTRATIVE MOTION
                                                          TO SEAL
                                                 CASE NO. 4:20-CV-02254-YGR
                        Case 4:20-cv-02254-YGR Document 352 Filed 09/21/23 Page 33 of 50



                 1      Document or Portion of
                                                        Evidence Offered in Support
                        Document Sought to Be                                                       Ruling
                 2                                               of Sealing
                              Sealed
                 3                                      Contains sensitive information
                     Exhibit 18 to the Compendium                                        Granted.
                                                        regarding medical treatments
                     (Dkt. 210-2), a declaration
                 4                                      sought or obtained (PHI/PII,
                     produced by Ryan Schrier on
                                                        Renewed Blas Decl. ¶ 4;
                 5   behalf of Pacific Palms
                                                        Second Blas Decl. (Dkt. 227)
                     Recovery along with billing
                                                        ¶ 5; Second Blas Decl. (Dkt.
                 6   records and documents
                                                        227) ¶ 5).
                     produced by Pacific Palms
                 7   Recovery in response to a
                     subpoena issued by the United
                 8
                     Defendants in this action.
                 9                                      Contains sensitive information
                     Exhibit 19 to the Compendium                                        Granted.
                     (Dkt. 210-2), billing records      regarding medical treatments
            10                                          sought or obtained (PHI/PII,
                     produced by Pacific Palms
                                                        Renewed Blas Decl. ¶ 4;
            11       Recovery in response to a
                                                        Second Blas Decl. (Dkt. 227)
                     subpoena issued by the United
                                                        ¶ 5).
            12       Defendants in this action, bates
                     numbered
            13       PPR_LD_UBH00000001–162.
                                                        Contains sensitive information Granted.
            14       Exhibit 22 to the Compendium
                                                        regarding medical treatments
                     (Dkt. 210-4), billing records
            15                                          sought or obtained (PHI/PII,
                     produced by Pathway to Hope
                                                        Renewed Blas Decl. ¶ 4;
                     in response to a subpoena
            16                                          Second Blas Decl. (Dkt. 227)
                     issued by the United
                                                        ¶ 5. See also Ocean Breeze
            17       Defendants in this action, bates
                                                        and Pathway to Hope Recovery
                     numbered
            18                                          Centers Decl. (Dkt. 227-3),
                     CONFIDENTIAL_PTH000001
                                                        ¶¶ 5-8.
                     –100.
            19                                         Contains sensitive information Granted.
                     Exhibit 23 to the Compendium
                                                       regarding medical treatments
            20       (Dkt. 210-3), a spreadsheet
                                                       sought or obtained (PHI/PII,
                     produced by Pathway to Hope
            21                                         Renewed Blas Decl. ¶ 4;
                     in response to a subpoena
                                                       Second Blas Decl. (Dkt. 227)
                     issued by the United
            22                                         ¶ 5). See also Ocean Breeze
                     Defendants in this action, bates
                                                       and Pathway to Hope Recovery
            23       numbered PTH000101.
                                                       Centers Decl. (Dkt. 227-3),
            24                                         ¶¶ 5-8.
                     Exhibit 24 to the Compendium Contains sensitive information Granted as to PHI/PII.
            25       (Dkt. 210-3), transcripts of call regarding medical treatments
                                                       sought or obtained (PHI/PII,
            26       recordings produced by
                     Pathway to Hope in response to Renewed Blas Decl. ¶ 4;
                                                       Second Blas Decl. (Dkt. 227)
            27       a subpoena issued by the
                                                       ¶ 5). See also Ocean Breeze
                     United Defendants in this
            28                                         and Pathway to Hope Recovery
                     action and transcribed by
Gibson, Dunn &                                                       33
 Crutcher LLP
                     ORDER GRANTING IN PART DEFENDANTS’ RENEWED AND NARROWED ADMINISTRATIVE MOTION
                                                          TO SEAL
                                                 CASE NO. 4:20-CV-02254-YGR
                        Case 4:20-cv-02254-YGR Document 352 Filed 09/21/23 Page 34 of 50



                 1      Document or Portion of
                                                         Evidence Offered in Support
                        Document Sought to Be                                                         Ruling
                 2                                                of Sealing
                                  Sealed
                 3   Veritext, bates numbered            Centers Decl. (Dkt. 227-3),
                     PTH000102–111.                      ¶¶ 5-8.
                 4                                       Contains sensitive information
                     Exhibit 25 to the Compendium                                         Granted.
                                                         regarding medical treatments
                 5   (Dkt. 210-3), billing records
                                                         sought or obtained (PHI/PII,
                     from PCI West Lake Center
                                                         Renewed Blas Decl. ¶ 4;
                 6   produced in response to a
                                                         Second Blas Decl. (Dkt. 227)
                     subpoena issued by the United
                 7                                       ¶ 5).
                     Defendants in this action,
                     documents located within bates
                 8
                     numbers PCI 00001–423.
                 9                                       Contains sensitive information
                     Exhibit 26 to the Compendium                                         Granted as to PHI/PII.
                     (Dkt. 210-3), transcripts of call   regarding medical treatments
            10                                           sought or obtained (PHI/PII,
                     recordings produced by PCI
                                                         Renewed Blas Decl. ¶ 4;
            11       West Lake Center in response
                                                         Second Blas Decl. (Dkt. 227)
                     to a subpoena issued by the
            12                                           ¶ 5).
                     United Defendants in this
                     action and transcribed by
            13       Veritext, bates numbered CS
                     VOB 225 and JM VOB 224.
            14
                                                         Contains sensitive information
                     Exhibit 27 to the Compendium                                         Granted.
            15                                           regarding medical treatments
                     (Dkt. 210-3), a spreadsheet
                                                         sought or obtained (PHI/PII,
                     produced by PCI West Lake
            16                                           Renewed Blas Decl. ¶ 4; see
                     Centers in response to a
                                                         also Second Blas Decl. (Dkt.
            17       subpoena issued by the United
                                                         227) ¶ 5).
                     Defendants in this action, bates
            18       numbered PCI Confidential.
                                                         Contains sensitive information
            19       Exhibit 29 to the Compendium                                         Granted.
                                                         regarding medical treatments
                     (Dkt. 210-3), billing records
            20                                           sought or obtained (PHI/PII,
                     produced by Recovering
                                                         Renewed Blas Decl. ¶ 4;
                     Champions dba Cape Cod
            21                                           Second Blas Decl. (Dkt. 227)
                     Behavioral Health in response
                                                         ¶ 5). .
                     to a subpoena issued by the
            22
                     United Defendants in this
            23       action on July 19 without bates
                     numbers.
            24
                     Exhibit 31 to the Compendium Contains sensitive information          Granted.
                                                    regarding medical treatments
            25       (Dkt. 210-4), billing records
                     produced by Royal Life Centers sought or obtained (PHI/PII,
            26                                      Renewed Blas Decl. ¶ 4;
                     in response to a subpoena
                                                    Second Blas Decl. (Dkt. 227)
                     issued by the United
            27                                      ¶ 5).
                     Defendants in this action on
            28
Gibson, Dunn &                                                        34
 Crutcher LLP
                     ORDER GRANTING IN PART DEFENDANTS’ RENEWED AND NARROWED ADMINISTRATIVE MOTION
                                                          TO SEAL
                                                 CASE NO. 4:20-CV-02254-YGR
                        Case 4:20-cv-02254-YGR Document 352 Filed 09/21/23 Page 35 of 50



                 1      Document or Portion of
                                                      Evidence Offered in Support
                        Document Sought to Be                                                     Ruling
                 2                                             of Sealing
                                 Sealed
                 3   June 1, 2022 without bates
                     numbers.
                 4                                    Contains sensitive information
                     Exhibit 32 to the Compendium                                      Granted.
                                                      regarding medical treatments
                 5   (Dkt. 210-4), billing records
                                                      sought or obtained (PHI/PII,
                     produced by Silicon Beach
                                                      Renewed Blas Decl. ¶ 4;
                 6   Outpatient Treatment Center in
                                                      Second Blas Decl. (Dkt. 227)
                     response to a subpoena issued
                 7                                    ¶ 5).
                     by the United Defendants in
                     this action, bates numbered
                 8
                     SB000001–12, SB00013–15.
                 9   Exhibit 33 to the Compendium Contains sensitive information       Granted.
                     (Dkt. 210-4), a spreadsheet     regarding medical treatments
            10                                       sought or obtained (PHI/PII,
                     produced by South Miami
            11       Recovery Center in response to Renewed Blas Decl. ¶ 4; see
                                                     also Second Blas Decl. (Dkt.
                     a subpoena issued by the
            12                                       227) ¶ 5).
                     United Defendants in this
                     action on June 29, 2022 without
            13       bates numbers.
            14       Exhibit 35 to the Compendium Contains sensitive information       Granted.
                                                     regarding medical treatments
                     (Dkt. 210-4), billing records
            15                                       sought or obtained (PHI/PII,
                     produced by Stepping Stone of
                                                     Renewed Blas Decl. ¶ 4;
                     San Diego in response to a
            16
                     subpoena issued by the United Second Blas Decl. (Dkt. 227)
                                                     ¶ 5).
            17       Defendants in this action on
                     June 8, 2022 and July 15, 2022
            18       without bates numbers.
            19       Exhibit 36 to the Compendium Contains sensitive information       Granted.
                     (Dkt. 210-4), a spreadsheet that regarding medical treatments
            20                                        sought or obtained (PHI/PII,
                     was produced by Stepping
                     Stone of San Diego in response Renewed Blas Decl. ¶ 4; see
            21                                        also Second Blas Decl. (Dkt.
                     to a subpoena issued by the
                                                      227) ¶ 5).
                     United Defendants in this
            22
                     action on May 31, 2022 without
            23       bates numbers
                     Exhibit 37 to the Compendium Contains sensitive information       Granted.
            24
                     (Dkt. 210-4), a spreadsheet that regarding medical treatments
                                                      sought or obtained (PHI/PII,
            25       was produced by Stepping
                     Stone of San Diego in response Renewed Blas Decl. ¶ 4; see
            26                                        also Second Blas Decl. (Dkt.
                     to a subpoena issued by the
                                                      227) ¶ 5).
                     United Defendants in this
            27       action on July 15, 2022 without
            28       bates numbers.
Gibson, Dunn &                                                     35
 Crutcher LLP
                     ORDER GRANTING IN PART DEFENDANTS’ RENEWED AND NARROWED ADMINISTRATIVE MOTION
                                                          TO SEAL
                                                 CASE NO. 4:20-CV-02254-YGR
                        Case 4:20-cv-02254-YGR Document 352 Filed 09/21/23 Page 36 of 50



                 1      Document or Portion of
                                                       Evidence Offered in Support
                        Document Sought to Be                                                         Ruling
                 2                                              of Sealing
                              Sealed
                 3                                     Contains discussion regarding Denied except as to PHI/PII.
                     Exhibit 38 to the Compendium
                                                       interpretation of business
                     (Dkt. 210-4), an email between
                 4                                     records for medical treatment
                     Matthew Aiken and employees
                                                       of putative class member (PHI,
                 5   of Stepping Stone of San
                                                       Renewed Blas Decl. ¶ 4;
                     Diego.
                                                       Second Blas Decl. ¶ 5).
                 6
                                                       Contains sensitive information Granted.
                     Exhibit 45 to the Compendium
                 7                                     regarding medical treatments
                     (Dkt. 210-5), documents
                                                       sought or obtained (PHI/PII,
                     produced by Windmill
                 8                                     Renewed Blas Decl. ¶ 4;
                     Wellness Ranch in response to
                                                       Second Blas Decl. (Dkt. 227)
                 9   a subpoena issued by the
                                                       ¶ 5).
                     United Defendants in this
            10       action.
                                                       Contains sensitive information
            11       Exhibit 46 to the Compendium                                        Granted.
                                                       regarding medical treatments
                     (Dkt. 210-5), documents
            12                                         sought or obtained (PHI/PII,
                     produced by Desert Cove
                                                       Renewed Blas Decl. ¶ 4;
                     Recovery Center in response to
            13                                         Second Blas Decl. (Dkt. 227)
                     a subpoena issued by the
                                                       ¶ 5).
                     United Defendants in this
            14
                     action.
            15                                         Contains sensitive information
                     Expert Report of Daniel                                             Denied as overbroad.
                                                       regarding medical treatments
                     Kessler and accompanying
            16                                         sought or obtained (PHI/PII,
                     exhibits (Dkt. 213).
                                                       Renewed Blas Decl. ¶ 4; see
            17                                         also Second Blas Decl. (Dkt.
            18                                         227) ¶ 5).
                     Plaintiffs’ Exhibit 2, the        Contains highly confidential     Denied as to ⁋⁋ 4 and 7,
            19       Declaration of Thomas P.          and commercially sensitive       otherwise granted.
            20       Ralston (Dkt. 251-4), ¶¶ 4-30,    information that would harm
                     Exhibit A.                        MultiPlan if publicly disclosed.
            21                                         See Third Wilde Decl. (Dkt
                                                       265-3) ¶ 9.
            22
                                                       Contains competitively
            23                                         sensitive information regarding
                                                       certain features of United’s
            24                                         out-of-network programs.
                                                       Supplemental Paradise Decl.
            25                                         (Dkt. 265-1) ¶ 4.
                     Plaintiffs’ Exhibit 3, Deposition
            26       transcript of Rebecca Paradise Contains testimony regarding
                     (Dkt. 251-6), in full, or in the  substantive internal discussions Granted as to the alternative,
            27       alternative as follows—Volume regarding the pricing of             narrower request only.
                     1:73:12–78:25, 160:20–163:25 particular claims, or responding
            28
Gibson, Dunn &                                                      36
 Crutcher LLP
                     ORDER GRANTING IN PART DEFENDANTS’ RENEWED AND NARROWED ADMINISTRATIVE MOTION
                                                          TO SEAL
                                                 CASE NO. 4:20-CV-02254-YGR
                        Case 4:20-cv-02254-YGR Document 352 Filed 09/21/23 Page 37 of 50



                 1      Document or Portion of
                                                       Evidence Offered in Support
                        Document Sought to Be                                                        Ruling
                 2                                              of Sealing
                                Sealed
                 3   179:6–182:2; Volume              to inquiries from plan sponsors,
                     2:104:22–106:4; 229:17–232:2     members, or healthcare
                 4                                    services providers as well as
                                                      testimony regarding highly
                 5                                    competitive or commercially
                                                      sensitive proprietary and non-
                 6
                                                      public information that would
                 7                                    harm United’s business
                                                      advantage, such as internal
                 8                                    strategic discussions about out-
                                                      of-network program features.
                 9                                    See Renewed Paradise Decl.
                                                      ¶ 4; Supplemental Paradise
            10
                                                      Decl. (Dkt. 265-1) ¶ 5; see also
            11                                        Renewed Blas Decl. ¶ 3; Third
                                                      Blas Decl. (Dkt. 265) ¶ 6
            12                                        (explaining justification for
                                                      requesting sealing in full).
            13       Plaintiffs’ Exhibit 4, Deposition
                     Transcript of Sarah Peterson      Contains testimony regarding
            14       (Dkt. 251-8), in full, or in the  highly competitive or
                     alternative as follows—126:2- commercially sensitive
            15       7, 176:13-16                      proprietary and non-public
            16                                         information that would harm
                                                       United’s business advantage,
            17                                         such as internal strategic
                                                       discussions about out-of-        Granted as to the narrower
            18                                         network program features. See request, otherwise denied.
                                                       Renewed Paradise Decl. ¶ 4;
            19                                         Supplemental Paradise Decl.
            20                                         (Dkt. 265-1) ¶ 5; see also
                                                       Renewed Blas Decl. ¶ 3; Third
            21                                         Blas Decl. (Dkt. 265) ¶ 6
                                                       (explaining justification for
            22                                         requesting sealing in full) .
                     Plaintiffs’ Exhibit 5, Deposition
            23       Transcript of Radames Lopez       Contains testimony regarding
                     (Dkt. 251-10), in full, or in the substantive internal discussions
            24       alternative, as follows—76:1– regarding the pricing of
                     85:15, 81:11–90:19, 103:18–       particular claims, or responding
            25       110:17, 149:21–151:4, 161:20– to inquiries from plan sponsors, Granted as to the narrower
                     167:19, 292:22–294:1.                                              request with the exception of
            26                                         members, or healthcare
                                                                                        89:1-22 and 167:12-19.
                                                       services providers as well as
            27                                         testimony regarding highly
                                                       competitive or commercially
            28                                         sensitive proprietary and non-
Gibson, Dunn &                                                       37
 Crutcher LLP
                     ORDER GRANTING IN PART DEFENDANTS’ RENEWED AND NARROWED ADMINISTRATIVE MOTION
                                                          TO SEAL
                                                 CASE NO. 4:20-CV-02254-YGR
                        Case 4:20-cv-02254-YGR Document 352 Filed 09/21/23 Page 38 of 50



                 1      Document or Portion of
                                                       Evidence Offered in Support
                        Document Sought to Be                                                        Ruling
                 2                                              of Sealing
                              Sealed
                 3                                    public information that would
                                                      harm United’s business
                 4                                    advantage, such as internal
                                                      strategic discussions about out-
                 5                                    of-network program features.
                                                      See Renewed Paradise Decl.
                 6
                                                      ¶ 4; Supplemental Paradise
                 7                                    Decl. (Dkt. 265-1) ¶ 5; see
                                                      also Renewed Blas Decl. ¶ 3;
                 8                                    Third Blas Decl. (Dkt. 265) ¶ 6
                                                      (explaining justification for
                 9                                    requesting sealing in full).
                     Plaintiffs’ Exhibit 6, Deposition
            10       Transcript of Jolene Bradley      Contains discussion of highly
                     (Dkt. 251-12), in full, or in the competitive or commercially
            11       alternative, as follows—          sensitive proprietary and non-
                     135:12-25.                        public information that would
            12
                                                       harm United’s business
            13                                         advantage, such as internal
                                                       strategic discussions about out-
                                                                                         Granted as to the narrower
            14                                         of-network program features.
                                                                                         request.
                                                       See Renewed Paradise Decl.
            15                                         ¶ 4; see also Supplemental
            16                                         Paradise Decl. (Dkt. 265-1) ¶ 5;
                                                       see also Renewed Blas Decl. ¶
            17                                         3; Third Blas Decl. (Dkt. 265)
                                                       ¶ 6 (explaining justification for
            18                                         requesting sealing in full) .
                     Plaintiffs’ Exhibit 10,
            19       Compendium of Balance Bills Contains unredacted patient
                     (Dkt. 251-20)                     health information and
            20                                         sensitive information regarding
                                                                                         Granted.
                                                       medical treatments obtained.
            21                                         See Renewed Blas Decl. ¶ 4;
            22                                         Third Blas Decl. (Dkt. 265) ¶ 8.
                     Plaintiffs’ Exhibit 11,
            23       Deposition Transcript of Sean Contains testimony that would
                     Crandell (Dkt. 251-22).           cause MultiPlan financial and
            24       Specifically, and as identified   competitive harm if publicly
                     in MultiPlan's confidentiality    disclosed. See Wilde Decl.
            25       designations pursuant to the      (Dkt 265-3) ¶ 11.
                     Protective Order: 25:19-22;                                         Granted except as to 76:4-6.
            26       31:3-37:24; 39:6-40:7; 40:16-
                     42:8; 43:7-46:15; 46:20- 50:23;
            27       51:10-53:4; 53:15-54:24;
                     55:14-21; 56:14-59:5; 59:11-
            28       23; 63:16-64:9; 64:14-66:3;
Gibson, Dunn &                                                      38
 Crutcher LLP
                     ORDER GRANTING IN PART DEFENDANTS’ RENEWED AND NARROWED ADMINISTRATIVE MOTION
                                                          TO SEAL
                                                 CASE NO. 4:20-CV-02254-YGR
                        Case 4:20-cv-02254-YGR Document 352 Filed 09/21/23 Page 39 of 50



                 1      Document or Portion of
                                                     Evidence Offered in Support
                        Document Sought to Be                                                          Ruling
                 2                                             of Sealing
                                  Sealed
                 3   68:17-69:18; 72:9-74:22; 75:1-
                     15; 76:4-6; 76:19-78:2; 78:11-
                 4   79:23; 80:5-21; 81:4-82:13;
                     82:17-84:8; 85:11-22; 86:3-13;
                 5   87:11-20; 87:24-89:11; 89:24-
                     90:8; 90:20-93:13; 94:11-
                 6   95:22; 97:10-98:19; 99:3-4;
                     99:6-8; 99:11-100:10; 101:1-4;
                 7   101:7-102:15; 103:18-105:6;
                     105:14-107:6; 107:19-108:18;
                 8   114:6-117:20; 117:23-120:13;
                     120:18-122:15; 122:18-20;
                 9   122:22-125:1; 125:17-126:8;
                     126:17-127:17; 127:21-128:4;
            10       132:3-133:2; 133:7-17; 133:19-
                     134:3; 134:10-18; 134:22-
            11       135:6; 135:8-20; 135:22-136:3;
                     136:10-137:6; 137:8-16; 138:5-
            12       140:1.
                     Plaintiffs’ Exhibit 30, Apple
                     Administrative Services        Contains confidential                 Tentatively denied as overbroad.
            13                                      Administrative Services               No indication of which if any
                     Agreement and amendments
            14       (Dkt. 258-1)                   Agreement between                     provisions remain competitive in
                                                    UnitedHealthcare Insurance            2023.
            15                                      Company and a plan sponsor,           Some of these documents are
                                                    which reflects sensitive and          unsigned and are drafts. Many
            16                                      proprietary information.              provisions are generic. More
                                                    Details confidential contractual
            17                                                                            specific information is required.
                                                    terms and financial terms
            18                                      which are still in effect
                                                    currently. Schneewind Decl.
            19                                      (Dkt. 215-3) ¶¶ 4-5 and
                                                    Renewed Schneewind Decl.
            20                                      ¶¶ 4-5.
            21

            22
                     Plaintiffs’ Exhibit 31, Tesla’s
                     Administrative Services           Contains confidential              Tentatively denied as overbroad.
            23                                         Administrative Services            No indication of which if any
                     Agreement (Dkt. 258-3)
                                                       Agreement between                  provisions remain competitive in
            24
                                                       UnitedHealthcare Insurance         2023.
            25                                         Company and a plan sponsor,        Some of these documents are
                                                       which reflects sensitive and
                                                                                          unsigned and are drafts. Many
            26                                         proprietary information.           provisions are generic. More
                                                       Details confidential contractual
            27                                                                            specific information is required.
                                                       terms and financial terms
            28                                         which are still in effect
Gibson, Dunn &                                                      39
 Crutcher LLP
                     ORDER GRANTING IN PART DEFENDANTS’ RENEWED AND NARROWED ADMINISTRATIVE MOTION
                                                          TO SEAL
                                                 CASE NO. 4:20-CV-02254-YGR
                        Case 4:20-cv-02254-YGR Document 352 Filed 09/21/23 Page 40 of 50



                 1      Document or Portion of
                                                       Evidence Offered in Support
                        Document Sought to Be                                                          Ruling
                 2                                              of Sealing
                              Sealed
                 3                                     currently. Schneewind Decl.
                                                       (Dkt. 215-3) ¶¶ 4-5 and
                 4                                     Renewed Schneewind Decl.
                                                       ¶¶ 4-5.
                 5

                 6   Plaintiffs’ Exhibit 32, General
                     Dynamic’s Administrative          Contains confidential            Granted.
                 7   Service Agreement and             Administrative Services
                     amendment (Dkt. 258-5)            Agreement between
                 8                                     UnitedHealthcare Insurance
                                                       Company and a plan sponsor,
                 9                                     which reflects sensitive and
                                                       proprietary information.
            10
                                                       Details confidential contractual
            11                                         terms and financial terms
                                                       which are still in effect
            12                                         currently. Schneewind Decl.
                                                       (Dkt. 215-3) ¶¶ 4-5 and
            13                                         Renewed Schneewind Decl.
                                                       ¶¶ 4-5.
            14

            15       Plaintiffs’ Exhibit 33, Cisco
                     System’s Administrative           Contains confidential              Tentatively denied as overbroad.
            16       Services Agreement and            Administrative Services            No indication of which if any
                     amendment (Dkt. 259-1)            Agreement between                  provisions remain competitive in
            17                                         UnitedHealthcare Insurance         2023.
                                                       Company and a plan sponsor,
            18                                                                            Some of these documents are
                                                       which reflects sensitive and       unsigned and are drafts. Many
            19                                         proprietary information.           provisions are generic. More
                                                       Details confidential contractual   specific information is required.
            20                                         terms and financial terms
                                                       which are still in effect
            21                                         currently. Schneewind Decl.
                                                       (Dkt. 215-3) ¶¶ 4-5 and
            22
                                                       Renewed Schneewind Decl.
            23                                         ¶¶ 4-5. See also Cisco Decl.,
                                                       ¶¶ 8-18.
            24       Plaintiffs’ Exhibit 34,
                     Raytheon’s Administrative     Contains confidential                  Tentatively denied as overbroad.
            25       Services Agreement (Dkt. 259- Administrative Services                No indication of which if any
                     3)                            Agreement between                      provisions remain competitive in
            26                                     UnitedHealthcare Insurance             2023.
                                                   Company and a plan sponsor,
            27                                                                            Some of these documents are
                                                   which reflects sensitive and           unsigned and are drafts. Many
                                                   proprietary information.
            28
Gibson, Dunn &                                                      40
 Crutcher LLP
                     ORDER GRANTING IN PART DEFENDANTS’ RENEWED AND NARROWED ADMINISTRATIVE MOTION
                                                          TO SEAL
                                                 CASE NO. 4:20-CV-02254-YGR
                        Case 4:20-cv-02254-YGR Document 352 Filed 09/21/23 Page 41 of 50



                 1      Document or Portion of
                                                      Evidence Offered in Support
                        Document Sought to Be                                                        Ruling
                 2                                             of Sealing
                              Sealed
                 3                                    Details confidential contractual provisions are generic. More
                                                      terms and financial terms        specific information is required.
                 4                                    which are still in effect
                                                      currently. Schneewind Decl.
                 5                                    (Dkt. 215-3) ¶¶ 4-5 and
                                                      Renewed Schneewind Decl.
                 6
                                                      ¶¶ 4-5. See also Raytheon
                 7                                    Decl. ¶¶ 4-8.
                     Plaintiffs’ Exhibit 35, Nestle
                 8   USA’s Administrative Services Contains confidential                Tentatively denied as overbroad.
                     Agreement (Dkt. 259-5)          Administrative Services            No indication of which if any
                 9                                   Agreement between                  provisions remain competitive in
                                                     UnitedHealthcare Insurance         2023.
            10                                       Company and a plan sponsor,        Some of these documents are
                                                     which reflects sensitive and
            11                                                                          unsigned and are drafts. Many
                                                     proprietary information.           provisions are generic. More
                                                     Details confidential contractual
            12                                                                          specific information is required.
                                                     terms and financial terms
            13                                       which are still in effect
                                                     currently. Schneewind Decl.
            14                                       (Dkt. 215-3) ¶¶ 4-5 and
                                                     Renewed Schneewind Decl.
            15                                       ¶¶ 4-5.
                     Plaintiffs’ Exhibit 36,
            16       McMaster-Carr Supply            Contains confidential              Tentatively denied as overbroad.
                     Company’s Administrative        Administrative Services            No indication of which if any
            17       Services Agreement (Dkt. 259- Agreement between                    provisions remain competitive in
                     7)                              UnitedHealthcare Insurance         2023.
            18
                                                     Company and a plan sponsor,        Some of these documents are
            19                                       which reflects sensitive and       unsigned and are drafts. Many
                                                     proprietary information.           provisions are generic. More
            20                                       Details confidential contractual   specific information is required.
                                                     terms and financial terms
            21                                       which are still in effect
            22                                       currently. Schneewind Decl.
                                                     (Dkt. 215-3) ¶¶ 4-5 and
            23                                       Renewed Schneewind Decl.
                                                     ¶¶ 4-5. See also McMaster-
            24                                       Carr Decl. ¶¶ 6-10.
                     Plaintiffs’ Exhibit 37, Ralston
            25       Compendium (Dkts. 263-5,        Contains confidential
                     263-6, 263-7)                   information, none of which is
            26                                       relevant to Plaintiffs’ motion.
                                                     See Blas Decl. (Dkt. 265) ¶ 7.     Granted.
            27
                                                      Contains documents that are
            28                                        confidential to the United-
Gibson, Dunn &                                                      41
 Crutcher LLP
                     ORDER GRANTING IN PART DEFENDANTS’ RENEWED AND NARROWED ADMINISTRATIVE MOTION
                                                          TO SEAL
                                                 CASE NO. 4:20-CV-02254-YGR
                        Case 4:20-cv-02254-YGR Document 352 Filed 09/21/23 Page 42 of 50



                 1      Document or Portion of
                                                     Evidence Offered in Support
                        Document Sought to Be                                                     Ruling
                 2                                            of Sealing
                              Sealed
                 3                                   MultiPlan business relationship
                                                     and not shared outside that
                 4                                   relationship. They contain
                                                     information the disclosure of
                 5                                   which would harm not only
                                                     MultiPlan but also adversely
                 6
                                                     affect its relationship with
                 7                                   United if other entities were
                                                     able to review the same.. See
                 8                                   Third Wilde Decl. (Dkt 265-3)
                                                     ¶ 10.
                 9   Excerpts of Plaintiffs’ Exhibit
                     39, UHC000018537 (Dkt. 259- Document contains sensitive,
            10       11); portions of pages 2 through substantive discussions about
                     9                                particular claims or program
            11                                        features and marketing
                                                      materials provided to United
            12
                                                      customers about those
            13                                        programs. See Renewed          Granted.
                                                      Paradise Decl. ¶ 4;
            14                                        Supplemental Paradise Decl.
                                                      (Dkt. 265-1) ¶ 4; Renewed Blas
            15                                        Decl. ¶ 3.
            16

            17
                     Excerpts of Plaintiffs’ Exhibit
            18       40, UHC000048508 (Dkt. 259- Document contains sensitive
                     13); portions of pages 2 through internal communications
            19       3                                regarding UHC proprietary
                                                      internal processes and standard
            20                                        operating procedures, including
                                                      changes to proprietary internal
            21                                        processes that reflect business
                                                      strategy. See Renewed
            22                                                                        Granted.
                                                      Paradise Decl. ¶ 4;
            23                                        Supplemental Paradise Decl.
                                                      (Dkt. 265-1) ¶ 4; Renewed Blas
            24                                        Decl. ¶ 3.
            25

            26

            27       Excerpts of Plaintiffs’ Exhibit
                     41, UHC000106755 (Dkt. 259- Document contains sensitive           Granted.
            28                                       internal communications
Gibson, Dunn &                                                    42
 Crutcher LLP
                     ORDER GRANTING IN PART DEFENDANTS’ RENEWED AND NARROWED ADMINISTRATIVE MOTION
                                                          TO SEAL
                                                 CASE NO. 4:20-CV-02254-YGR
                        Case 4:20-cv-02254-YGR Document 352 Filed 09/21/23 Page 43 of 50



                 1      Document or Portion of
                                                       Evidence Offered in Support
                        Document Sought to Be                                                      Ruling
                 2                                                of Sealing
                                  Sealed
                 3   15); portions of pages 2 through regarding UHC proprietary
                     6                                internal processes and standard
                 4                                    operating procedures, including
                                                      future business plans and
                 5                                    sensitive internal figures, as
                                                      well as proprietary processes
                 6
                                                      that are still in existence today.
                 7                                    See Renewed Paradise Decl.
                                                      ¶ 4; Supplemental Paradise
                 8                                    Decl. (Dkt. 265-1) ¶ 4;
                                                      Renewed Blas Decl. ¶ 3.
                 9

            10

            11       Plaintiffs’ Exhibit 42,
                     Deposition Transcript of Denise Contains testimony of a
            12       Strait (Dkt. 259-17), in full, or sensitive and proprietary nature
                     in the alternative, as follows— regarding substantive internal
            13       64:22-25, 159:7–186:21,           discussions regarding the
                     193:16–204:6                      pricing of particular claims, or
            14                                         responding to inquiries from
                                                       plan sponsors, members, or
            15                                         healthcare services providers,
                                                       see Renewed Paradise Decl. ¶ 4 Granted as to the narrower,
            16
                                                       & Supplemental Paradise Decl. alternative request.
            17                                         (Dkt. 265-1) ¶ 5, and
                                                       discussions of private health
            18                                         information, see Renewed Blas
                                                       Decl. ¶ 3; Third Blas Decl.
            19                                         (Dkt. 265) ¶ 8. See also Third
                                                       Blas Decl. (Dkt. 265) ¶ 6
            20
                                                       (explaining justification for
            21                                         requesting sealing in full).
                     Plaintiffs’ Exhibit 43,
            22       Deposition Transcript of Mark Contains testimony that would
                     Edwards (Dkt. 259-19).            cause MultiPlan financial and
            23       Specifically, and as identified   competitive harm if publicly
                     in MultiPlan's confidentiality    disclosed. See Wilde Decl.
            24       designations pursuant to the      (Dkt 265-3) ¶ 11.
                     Protective Order: 21:24-22:7;
            25       34:17-21; 34:23-35:4; 35:6-14;                                     Granted.
                     37:14-38:24; 39:9-42:5; 46:12-
            26       47:18; 48:14-52:17; 56:18-
                     57:12; 60:16-62:25; 67:14-
            27       69:5; 72:5-23; 73:1-13; 78:9-
                     81:7; 85:24-86:12; 91:11-25;
            28       92:4-15; 93:4-16; 94:4-13;
Gibson, Dunn &                                                       43
 Crutcher LLP
                     ORDER GRANTING IN PART DEFENDANTS’ RENEWED AND NARROWED ADMINISTRATIVE MOTION
                                                          TO SEAL
                                                 CASE NO. 4:20-CV-02254-YGR
                        Case 4:20-cv-02254-YGR Document 352 Filed 09/21/23 Page 44 of 50



                 1       Document or Portion of
                                                       Evidence Offered in Support
                         Document Sought to Be                                                     Ruling
                 2                                               of Sealing
                                   Sealed
                 3   94:22-96:25; 98:20-25; 105:13-
                     113:7; 113:21-114:12; 123:22-
                 4   124:15; 125:13-126:8; 126:21-
                     127:10; 130:25-131:14; 131:21-
                 5   132:10; 132:21-133:22; 134:7-
                     23; 138: 23-139:13; 141:14-21;
                 6   142:4-143:24; 146:14-19;
                     147:6-13; 149:16-151:5;
                 7   156:11-158:16; 166:21-168:1;
                     169:23-171:11; 175:1-176:1;
                 8   184:17-185:22; 192:8-194:1;
                     195:14-196:4; 198:16-199:9;
                 9   200:11-14; 216:14-219:1;
                     220:6-17; 222:3-14; 232:8-
            10       233:19; 237:14-238:25; 240:12-
                     242:6; 246:3-21; 250:15-
            11       252:13.
                     Excerpts from Exhibit M to
                     Plaintiffs’ Motion for Class     Contain discussion of the
            12                                        details of MultiPlan’s
                     Certification – Excerpts from
            13       the July 14, 2022 deposition of proprietary methodology,
                     MultiPlan’s Vice President of    which, if disclosed, could cause
            14       Healthcare Economics, Sean       competitive harm to MultiPlan.
                     Crandell. Specifically, and as   Crandell Decl. (Dkt. 176-2)
                     identified in MultiPlan's                                         Granted but denied as to 66:1-3
            15                                        ¶ 15; Wilde  Decl. (265-3) ¶ 11. and 68:17-24.
                     confidentiality designations
            16       pursuant to the Protective
                     Order: 66:1-3; 68:17-24; 90:20-
            17       24; 91:1-24; 94:11-24; 95:1-22;
                     114:6-24: 115:1-24; 116:1-24;
            18       125:17-24; 127:21-24: 136:10-
                     24.
            19       Excerpts from Exhibit S to
                     Plaintiffs’ Motion for Class     Contain discussion of
            20       Certification- Excerpts from the confidential business terms
                     July 12, 2022 deposition of      which, if disclosed, could cause
            21       MultiPlan’s Senior Vice          competitive harm to MultiPlan.
                     President of Sales and           Crandell Decl. (Dkt. 176-2)
            22       Account Management,              ¶ 15
                     Jacqueline Kienzle.                                               Granted but denied as to 136:1.
            23       Specifically, and as identified
                     in MultiPlan's confidentiality
            24       designations pursuant to the
                     Protective Order: 95:14-25;
            25       102:1-13; 136:1; 196:22-25;
                     197:1-25; 273:1-25.
            26

            27

            28
Gibson, Dunn &                                                     44
 Crutcher LLP
                     ORDER GRANTING IN PART DEFENDANTS’ RENEWED AND NARROWED ADMINISTRATIVE MOTION
                                                          TO SEAL
                                                 CASE NO. 4:20-CV-02254-YGR
                         Case 4:20-cv-02254-YGR Document 352 Filed 09/21/23 Page 45 of 50



                 1          Further, the Court DENIES AS MOOT defendant’s request to fix its errata re: Exhibits 52, 54,
                 2   and 56. (Dkt. No. 338.) The docket reflects that this error has already been fixed.
                 3
                     IT IS SO ORDERED.
                 4

                 5
                             September 21 2023
                     Dated: _____________,
                 6
                                                                           HON. YVONNE GONZALEZ ROGERS
                 7                                                         UNITED STATES DISTRICT JUDGE

                 8

                 9

            10

            11

            12

            13

            14

            15

            16

            17

            18

            19
            20

            21

            22

            23

            24

            25

            26

            27

            28
Gibson, Dunn &                                                        45
 Crutcher LLP
                     ORDER GRANTING IN PART DEFENDANTS’ RENEWED AND NARROWED ADMINISTRATIVE MOTION
                                                          TO SEAL
                                                 CASE NO. 4:20-CV-02254-YGR
Case 4:20-cv-02254-YGR Document 352 Filed 09/21/23 Page 46 of 50




Attachment A
Case 4:20-cv-02254-YGR Document 352 Filed 09/21/23 Page 47 of 50
Case 4:20-cv-02254-YGR Document 352 Filed 09/21/23 Page 48 of 50
Case 4:20-cv-02254-YGR Document 352 Filed 09/21/23 Page 49 of 50
Case 4:20-cv-02254-YGR Document 352 Filed 09/21/23 Page 50 of 50
